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       in interest to Leonard Angelo Sanchez
9

10
                                UNITED STATES DISTRICT COURT
11                            CENTRAL DISTRICT OF CALIFORNIA
12
       MARGARET ALBA, individually and as                Case No.: 5:18-CV-02087-JGB (SHK)
13
       guardian ad litem for her minor children
14     A.S., L.S. and S.S., and DAISY                    SECOND AMENDED COMPLAINT
       SANCHEZ, individually and successors              FOR DAMAGES FOR VIOLATION
15
       in interest to LEONARD ANGELO                     OF FEDERAL CONSTITUTIONAL
16     SANCHEZ, and GLORIA ANN                           RIGHTS UNDER COLOR OF STATE
17     ALMAZON,                                          LAW [42 U.S.C. § 1983] CLAIM FOR
                                                         USE OF UNREASONABLE FORCE
18            Plaintiffs,                                UPON PERSON [U.S. CONST.
19            vs.                                        AMEND 4]1, CLAIM FOR
                                                         UNREASONABLE SEIZURE OF
20
       CITY OF BARSTOW, COUNTY OF                        PERSON [U.S. CONST. AMEND 4 2];
21     SAN BERNARDINO, ALBERT                            CLAIM FOR UNREASONABLE
       RAMIREZ, JR., JOHN McMAHON,                       SEIZURE OF PERSON [U.S. CONST.
22
       WILLIAM SPILLER II, ANDREW                        AMEND 4]; CLAIM FOR
23
       BUESA, ANDREW ESPINOZA, JR.,                      INTERFERENCE / DEPRIVATION
24     THOMAS LEWIS, MICHAEL                             OF PARENT - CHILD
       CLEARY, ARTURO ALVARADO,                          RELATIONSHIP [U.S. CONST.
25                                                       AMEND 14]; UNREASONABLE
       BRENDAN MOTLEY, MICHAEL
26

27
       1
28         Survivor Claim via Cal. Civ. Proc. Code § 377.30.
       2
           Survivor Claim via Cal. Civ. Proc. Code § 377.30.
                            SECOND AMENDED COMPLAINT FOR DAMAGES
                                             1
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1      WARRICK, MICHAEL WALKER,                            SEIZURE OF PERSON [U.S. CONST.
2      GERAD LAING, JAMES TEBBETS,                         AMEND 4]; CLAIM FOR
       JOSE BARRIENTOS, JARELL                             UNLAWFUL SEIZURE OF PRIVATE
3
       GILMORE, CHRISTOPHER KIRBY,                         RESIDENCE [U.S. CONST. AMEND
4      FRANK BENITEZ and DOES 1 through                    4]; CLAIM FOR UNLAWFUL
       10, inclusive,                                      SEARCH OF PRIVATE RESIDENCE
5
                                                           [U.S. CONST. AMEND. 4 and
6             Defendants.                                  CALIFORNIA STATE LAW CLAIMS
7
                                                           FOR WRONGFUL DEATH [CAL.
                                                           CIV. PROC. CODE § 377.60];
8                                                          VIOLATION OF BANE ACT [CAL.
9                                                          CIV. CODE § 52.13]; FALSE ARREST
                                                           / FALSE IMPRISONMENT,
10
                                                           BATTERY4, ASSAULT, NEGLIGENT
11                                                         INFLICTION OF EMOTIONAL
                                                           DISTRESS, NEGLIGENCE; DILLON
12
                                                           V. LEGG CLAIM and INTENTIONAL
13                                                         INFLICTION OF EMOTIONAL
14
                                                           DISTRESS, MONELL &
                                                           SUPERVISORY LIABILITY CLAIMS
15

16                                                         JURY TRIAL DEMANDED
17

18
                 COME NOW plaintiffs Margaret Alba, individually and as guardian ad
19

20     litem for minor children A.S., L.S. and S.S. and Daisy Sanchez, individually and as
21
       successors in interest to plaintiffs’ decedent Leonard Angelo Sanchez, and Gloria
22

23     Ann Almazon, and show this Honorable Court the following:
24
                                  JURISDICTIONAL ALLEGATIONS
25

26

27
       3
28         Survivor Claim via Cal. Civ. Proc. Code § 377.30.
       4
           Direct liability and via survivor Claim under Cal. Civ. Proc. Code § 377.30.
                             SECOND AMENDED COMPLAINT FOR DAMAGES
                                              2
     Case 5:18-cv-02087-JGB-SHK Document 46 Filed 08/16/19 Page 3 of 68 Page ID #:412



1             1.      As this action is brought under 42 U.S.C. § 1983 this court has
2
       jurisdiction over this case under its federal question jurisdiction pursuant to 28
3

4      U.S.C. § 1331.
5
              2.      As the incidents complained of in this action occurred in the City of
6

7
       Barstow, County of San Bernardino, State of California, within the territorial

8      jurisdiction of this court, venue properly lies in this court pursuant to 28 U.S.C. §
9
       1391(b)(2).
10

11            3.      As plaintiffs’ claims brought under California state law arise out of
12
       the same transactions and occurrences and out of a common nucleus of operative
13

14
       facts as the plaintiffs’ federal questions claims, this court has jurisdiction over the

15     plaintiffs’ California state law claims under its Supplemental Jurisdiction pursuant
16
       to 28 U.S.C. § 1367, and otherwise pursuant to United Mine Workers of America
17

18     v. Gibbs, 383 U.S. 715 (1966).
19
              4.      Plaintiff Margaret Alba, individually and as guardian ad litem for
20

21
       minor children A.S.5, L.S. 6 and S.S. 7, and Daisy Sanchez, individually and as

22     successor in interest to Leonard Angelo Sanchez, timely filed plaintiffs’
23
       Government Claims for Damages against the City of Barstow and the County of
24

25

26

27
       5
         Individually and as successor in interest to Leonard Angelo Sanchez.
       6
28       Individually and as successor in interest to Leonard Angelo Sanchez.
       7
         Individually and as successor in interest to Leonard Angelo Sanchez.
                           SECOND AMENDED COMPLAINT FOR DAMAGES
                                            3
     Case 5:18-cv-02087-JGB-SHK Document 46 Filed 08/16/19 Page 4 of 68 Page ID #:413



1      San Bernardino on April 25, 2018 and April 30, 2018 respectively, pursuant to the
2
       California Tort Claims Act, Cal. Gov’t. Code § 900 et seq., and said claim was
3

4      denied by defendant County of San Bernardino on or about May 29, 2018, and as
5
       of the date of the filing of this instant complaint the City of Barstow has not
6

7
       responded to said claim for damages at all, making such claim being deemed

8      denied by operation of law.
9

10
                                  GENERAL ALLEGATIONS
11
             5.     Plaintiff Margaret Alba, hereinafter referred to as “MARGARET
12
       ALBA” and/or “plaintiff” and/or “Margaret Alba” is a natural person, who, at all
13

14     times complained of in this action, resided in the State of California. Plaintiff
15
       Margaret Alba was the “girlfriend” of plaintiffs’ decedent, Leonard Angelo
16

17     Sanchez, and is also the biological mother, legal guardian and the guardian ad
18
       litem for plaintiff Margaret Alba’s and Leonard Angelo Sanchez’ minor children
19
       A.S., L.S. and S.S., individually, and as successors in interest to plaintiffs’
20

21     decedent, Leonard Angelo Sanchez; the father of A.S., L.S. and S.S..
22
             6.     Plaintiff minor child, A.S., date of birth of March 4, 2005, hereinafter
23

24     referred to as “A.S.,” is a natural person, who, at all times complained of in this
25
       action, resided in the County of San Bernardino, State of California. At all times
26
       complained of herein, A.S. was the legal and natural daughter of her late father,
27

28     plaintiffs’ decedent Leonard Angelo Sanchez at the time of his death on February

                         SECOND AMENDED COMPLAINT FOR DAMAGES
                                          4
     Case 5:18-cv-02087-JGB-SHK Document 46 Filed 08/16/19 Page 5 of 68 Page ID #:414



1      25, 2018. Therefore, plaintiff minor child A.S. is an heir of Leonard Angelo
2
       Sanchez’ under California law, and his successor in interest in this action pursuant
3

4      to Cal. Civ. Proc. Code § 337.30.
5
             7.     Plaintiff minor child L.S., date of birth June 20, 2008, hereinafter
6

7
       referred to as “L.S.,” is a natural person, who, at all times complained of in this

8      action, resided in the County of San Bernardino, State of California. At all times
9
       complained of herein, L.S. was the legal and natural son of his late father,
10

11     plaintiffs’ decedent Leonard Angelo Sanchez, at the time of his death on February
12
       25, 2018. Therefore, plaintiff minor child L.S. is Leonard Angelo Sanchez’ heir
13

14
       under California law and his successor in interest in this action pursuant to Cal.

15     Civ. Proc. Code § 337.30.
16
             8.     Plaintiff minor child S.S., date of birth November 11, 2014,
17

18     hereinafter referred to as “S.S.,” is a natural person, who, at all times complained
19
       of in this action, resided in the County of San Bernardino, State of California. At
20

21
       all times complained of herein, S.S. was the legal and natural daughter of her late

22     father, plaintiffs’ decedent, Leonard Angelo Sanchez, at the time of his death on
23
       February 25, 2018. Therefore, plaintiff minor child S.S. is Leonard Angelo
24

25     Sanchez’ heir under California law and his successor in interest in this action
26
       pursuant to Cal. Civ. Proc. Code § 337.30.
27

28
             9.     Plaintiff Daisy Marie Sanchez, date of birth June 21, 1998,


                        SECOND AMENDED COMPLAINT FOR DAMAGES
                                         5
     Case 5:18-cv-02087-JGB-SHK Document 46 Filed 08/16/19 Page 6 of 68 Page ID #:415



1      hereinafter referred to as “DAISY MARIE SANCHEZ,” and/or “Daisy Sanchez”
2
       is a natural person, who, at all times complained of in this action, resided in the
3

4      County of San Bernardino, State of California. At all times complained of herein,
5
       Daisy Marie Sanchez was the legal and natural adult daughter of her late father,
6

7
       plaintiffs’ decedent, Leonard Angelo Sanchez, at the time of his death on February

8      25, 2018. Therefore, plaintiff adult child Daisy Marie Sanchez is Leonard Angelo
9
       Sanchez’ heir under California law and his successor in interest in this action
10

11     pursuant to Cal. Civ. Proc. Code § 337.30.
12
             10.     Plaintiff Gloria Ann Almazon, hereinafter referred to as
13

14
       “ALMAZON”, is the natural and legal mother of Plaintiffs’ decedent, Leonard

15     Angelo Sanchez.
16
             11.     Plaintiffs’ decedent, Leonard Angelo Sanchez, hereinafter referred to
17

18     as “LEONARD ANGELO SANCHEZ”, and/or “Leonard Angelo Sanchez” died
19
       intestate on February 25, 2018 at the Barstow Community Hospital in the City of
20

21
       Barstow, in San Bernardino County, California, from gunshot wounds inflicted

22     upon him by the defendant Barstow police officers William Spiller II and Andrew
23
       Buesa in this action. At all times complained of LEONARD ANGELO
24

25     SANCHEZ was a resident of the County of San Bernardino and State of
26
       California.
27

28
             12.     Defendant City of Barstow, hereinafter also referred to as “City of


                         SECOND AMENDED COMPLAINT FOR DAMAGES
                                          6
     Case 5:18-cv-02087-JGB-SHK Document 46 Filed 08/16/19 Page 7 of 68 Page ID #:416



1      Barstow” or “CITY”, is a political subdivision of the State of California and is a
2
       municipal entity, located in San Bernardino County; within the territorial
3

4      jurisdiction of this Honorable Court.
5
             13.    Defendant County of San Bernardino, hereinafter also referred to as
6

7
       “County of San Bernardino” or “COUNTY”, is a political subdivision of the State

8      of California and is a municipal entity, located within the territorial jurisdiction of
9
       this Honorable Court.
10

11           14.    Defendant Albert Ramirez, Jr., hereinafter referred to as
12
       “RAMIREZ”, is a sworn police officer and the Chief of Police of the Barstow
13

14
       Police Department, who, at all times complained of in this action was acting as an

15     individual person under the color of state law, and was acting in the course of and
16
       within the scope of his employment with the Barstow Police Department and
17

18     defendant City of Barstow.
19
             15.    Defendant William Spiller II, hereinafter referred to as “SPILLER”,
20

21
       is a sworn police officer with the Barstow Police Department, who, at all times

22     complained of in this action was acting as an individual person under the color of
23
       state law, and was acting in the course of and within the scope of his employment
24

25     with the Barstow Police Department and defendant City of Barstow.
26
             16.    Defendant Andrew Buesa, hereinafter referred to as “BUESA”, is a
27

28
       sworn police officer with the Barstow Police Department, who, at all times


                         SECOND AMENDED COMPLAINT FOR DAMAGES
                                          7
     Case 5:18-cv-02087-JGB-SHK Document 46 Filed 08/16/19 Page 8 of 68 Page ID #:417



1      complained of in this action was acting as an individual person under the color of
2
       state law, and was acting in the course of and within the scope of his employment
3

4      with the Barstow Police Department and defendant City of Barstow.
5
             17.    Defendant Andrew Espinoza, Jr., hereinafter referred to as
6

7
       “ESPINOZA”, is a sworn police officer and Captain and Supervisor with the

8      Barstow Police Department, who, at all times complained of in this action was
9
       acting as an individual person under the color of state law, and was acting in the
10

11     course of and within the scope of his employment with the Barstow Police
12
       Department and defendant City of Barstow.
13

14
             18.    Defendant Thomas Lewis, hereinafter referred to as “LEWIS”, is a

15     sworn police officer and a Detective and Supervisor with the Barstow Police
16
       Department, who, at all times complained of in this action was acting as an
17

18     individual person under the color of state law, and was acting in the course of and
19
       within the scope of his employment with the Barstow Police Department and
20

21
       defendant City of Barstow.

22           19.    Defendant Michael Cleary, hereinafter referred to as “CLEARY”, is a
23
       sworn deputy sheriff, Detective and Corporal and Supervisor with the San
24

25     Bernardino County Sheriff’s Department, who, at all times complained of in this
26
       action was acting as an individual person under the color of state law, and was
27

28
       acting in the course of and within the scope of his employment with the San


                        SECOND AMENDED COMPLAINT FOR DAMAGES
                                         8
     Case 5:18-cv-02087-JGB-SHK Document 46 Filed 08/16/19 Page 9 of 68 Page ID #:418



1      Bernardino County Sheriff’s Department and defendant County of San
2
       Bernardino.
3

4            20.     Defendant Arturo Alvarado, hereinafter referred to as
5
       “ALVARADO”, is a sworn deputy sheriff, Detective and Corporal and Supervisor
6

7
       with the San Bernardino County Sheriff’s Department, who, at all times

8      complained of in this action was acting as an individual person under the color of
9
       state law, and was acting in the course of and within the scope of his employment
10

11     with the San Bernardino County Sheriff’s Department and defendant County of
12
       San Bernardino.
13

14
             21.     Defendant Brendan Motley, hereinafter referred to as “MOTLEY”, is

15     a sworn deputy sheriff, Detective and Corporal and Supervisor with the San
16
       Bernardino County Sheriff’s Department, who, at all times complained of in this
17

18     action was acting as an individual person under the color of state law, and was
19
       acting in the course of and within the scope of his employment with the San
20

21
       Bernardino County Sheriff’s Department and defendant County of San

22     Bernardino.
23
             22.     Defendant Michael Warrick, hereinafter referred to as “WARRICK”,
24

25     is a sworn deputy sheriff, Detective and Corporal and Supervisor with the San
26
       Bernardino County Sheriff’s Department, who, at all times complained of in this
27

28
       action was acting as an individual person under the color of state law, and was


                         SECOND AMENDED COMPLAINT FOR DAMAGES
                                          9
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1    acting in the course of and within the scope of his employment with the San
2
     Bernardino County Sheriff’s Department and defendant County of San
3

4    Bernardino.
5
           23.     Defendant Michael Walker, hereinafter referred to as “WALKER”, is
6

7
     a sworn deputy sheriff, Sergeant and Supervisor with the San Bernardino County

8    Sheriff’s Department, who, at all times complained of in this action was acting as
9
     an individual person under the color of state law, and was acting in the course of
10

11   and within the scope of his employment with the San Bernardino County Sheriff’s
12
     Department and defendant County of San Bernardino.
13

14
           24.     Defendant Gerad Laing, hereinafter referred to as “LAING”, is a

15   sworn deputy sheriff and a Corporal and Supervisor with the San Bernardino
16
     County Sheriff’s Department, who, at all times complained of in this action was
17

18   acting as an individual person under the color of state law, and was acting in the
19
     course of and within the scope of his employment with the San Bernardino
20

21
     County Sheriff’s Department and defendant County of San Bernardino.

22         25.     Defendant James Tebbetts, hereinafter referred to as “TEBBETTS”,
23
     is a sworn deputy sheriff and Corporal and Detective and Supervisor with the San
24

25   Bernardino County Sheriff’s Department, who, at all times complained of in this
26
     action was acting as an individual person under the color of state law, and was
27

28
     acting in the course of and within the scope of his employment with the San


                       SECOND AMENDED COMPLAINT FOR DAMAGES
                                        10
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1    Bernardino County Sheriff’s Department and defendant County of San
2
     Bernardino.
3

4          26.     Defendant Jose Barrientos, hereinafter referred to as
5
     “BARRIENTOS”, is a sworn police officer and Corporal and Supervisor with the
6

7
     Barstow Police Department, who, at all times complained of in this action was

8    acting as an individual person under the color of state law, and was acting in the
9
     course of and within the scope of his employment with the Barstow Police
10

11   Department and defendant City of Barstow.
12
           27.     Defendant Jarell Gilmore, hereinafter referred to as “GILMORE”, is
13

14
     a sworn police officer and Sergeant and Supervisor with the Barstow Police

15   Department, who, at all times complained of in this action was acting as an
16
     individual person under the color of state law, and was acting in the course of and
17

18   within the scope of his employment with the Barstow Police Department and
19
     defendant City of Barstow.
20

21
           28.     Defendant Christopher Kirby, hereinafter referred to as “KIRBY”, is

22   a sworn police officer and Lieutenant and Supervisor with the Barstow Police
23
     Department, who, at all times complained of in this action was acting as an
24

25   individual person under the color of state law, and was acting in the course of and
26
     within the scope of his employment with the Barstow Police Department and
27

28
     defendant City of Barstow.


                       SECOND AMENDED COMPLAINT FOR DAMAGES
                                        11
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1          29.    Defendant Frank Benitez, hereinafter referred to as “BENITEZ”, is a
2
     sworn police officer and Sergeant and Supervisor with the Barstow Police
3

4    Department, who, at all times complained of in this action was acting as an
5
     individual person under the color of state law, and was acting in the course of and
6

7
     within the scope of his employment with the Barstow Police Department and

8    defendant City of Barstow.
9
           30.    Defendant John McMahon (“McMAHON”) is the Sheriff of San
10

11   Bernardino County, California. At all times complained of herein McMAHON
12
     was an individual person acting under the color of state law, and was acting in the
13

14
     course and scope of his employment with the County of San Bernardino, and was

15   the top policymaking official of the San Bernardino County Sheriff’s Department.
16
           31.    Defendants DOES 1 through 3, inclusive, are sworn peace officers
17

18   and/or police officers and/or supervisors and/or investigators and/ Special Officers
19
     and/or a dispatchers and/or some other public officer, public official or employee
20

21
     of defendant City of Barstow, who in some way committed some or all of the

22   tortious actions (and constitutional violations) complained of in this action, and/or
23
     who are otherwise responsible for and liable to plaintiffs for the acts complained
24

25   of in this action, whose identities are and remain unknown to plaintiffs, who will
26
     amend their First Amended Complaint for Damages to add and to show the actual
27

28
     names of said DOE defendants when so ascertained by plaintiffs.


                      SECOND AMENDED COMPLAINT FOR DAMAGES
                                       12
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1             32.    Defendants DOES 4 through 6, inclusive, are sworn peace officers
2
     and/or deputy sheriffs and/or supervisors and/or investigators and/ Special
3

4    Officers and/or a dispatchers and/or some other public officer, public official or
5
     employee of defendants County of San Bernardino, who in some way committed
6

7
     some or all of the tortious actions (and constitutional violations) complained of in

8    this action, and/or are otherwise responsible for and liable to plaintiffs for the acts
9
     complained of in this action, whose identities are and remain unknown to
10

11   plaintiffs, who will amend their Complaint for Damages to add and to show the
12
     actual names of said DOE defendants when ascertained by plaintiffs.
13

14
              33.    At all times complained of herein, DOES 7 and 8 were acting as

15   individual persons acting under the color of state law, pursuant to their authority
16
     as sworn peace officers and/or other Barstow public officials8 and Supervisors and
17

18   policy making officials, including the Chief of Police, Assistant Chiefs,
19
     Commanders, Captains, Lieutenants or other policy making persons with
20

21
     defendant City of Barstow, City Manager and City Council Members and were

22   acting in the course of and within the scope of their employment with defendants
23
     City of Barstow. DOES 7 and 8 were in some substantial way liable and
24

25   responsible for, or otherwise proximately caused and/or contributed to the
26

27

28
     8
         Including Barstow City Council Members and the Barstow City Manager.
                         SECOND AMENDED COMPLAINT FOR DAMAGES
                                          13
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1    commission of the events complained of by plaintiffs in this case, such as via
2
     supervisory liability (i.e. failure to properly supervise, improperly directing
3

4    subordinate officers and/or approving unconstitutional actions of subordinate
5
     officers), via bystander liability (failing to intervene in and stop unlawful actions
6

7
     of their subordinates and/or other officers), and such as by creating and/or causing

8    the creation of and/or contributing to the creation of the policies and/or practices
9
     and/or customs and/or usages of the City of Barstow for: 1) wrongfully and
10

11   unconstitutionally killing persons; 2) unlawfully using excessive / unreasonable
12
     force, including deadly force, on persons; 3) unlawfully searching and seizing
13

14
     persons; 4) unlawfully searching and seizing persons’ homes and effects /

15   personal property9; 5) falsely arresting and falsely imprisoning persons; 6)
16
     fabricating / destroying / concealing / altering / withholding evidence in criminal
17

18   and civil actions; 7) “framing” / attempting to “frame” innocent persons in
19
     criminal actions10, 8) violating and interfering with persons’ constitutionally
20

21
     protected right to free speech and right to petition the government for redress of

22   grievances; 9) violating, interfering with and depriving persons of their of
23

24

25
     9
       Such as by using and abusing the search warrant process along with the unlawful search and
26
     seizure of private residences, to perform civil liability investigations for the County of San
27   Bernardino and for the City of Barstow, and not for the purpose of investigating criminal
     activity.
     10
28      To protect themselves and other police officers and deputy sheriffs and supervisory personnel
     from civil, administrative and criminal liability.
                        SECOND AMENDED COMPLAINT FOR DAMAGES
                                         14
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1    constitutionally protected parent - child relationships; 10) covering-up unlawful,
2
     felonious and tortious conduct by City of Barstow police officers and other City
3

4    personnel, and were a proximate cause of the very same California state law, and
5
     federal and state statutory and constitutional violations complained of by the
6

7
     plaintiffs in this action.

8             34.     Defendants DOES 9 and 10, are sworn peace officers and/or other
9
     public officials such as the Sheriff, Undersheriff, Assistant Sheriffs, Commanders,
10

11   Captains, Lieutenants, Sergeants, Detectives and/or other Supervisory personnel
12
     employed by COUNTY and/or the County Executive Officer and/or Members of
13

14
     the Board of Supervisors of San Bernardino County, and were policy making

15   and/or final policy making officials11 with the County of San Bernardino, who
16
     were acting in the course and scope of their employment with COUNTY, and are
17

18   in some substantial way liable and responsible for, or otherwise proximately
19
     caused and/or contributed to the events complained of by plaintiffs in this action,
20

21
     such as via supervisory liability (i.e. failure to properly supervise, improperly

22   directing subordinate officers, approving actions of subordinate officers), via
23
     bystander liability (failing to intervene in and stop unlawful actions of their
24

25   subordinates and/or other officers), and such as by creating and/or causing the
26

27

28
     11
          Including the County Board of Supervisors and the County Executive Officer.
                          SECOND AMENDED COMPLAINT FOR DAMAGES
                                           15
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1    creation of and/or contributing to the creation of the policies and/or practices
2
     and/or customs and/or usages of the County of San Bernardino for: 1) wrongfully
3

4    and unconstitutionally killing persons; 2) unlawfully using excessive /
5
     unreasonable force, including deadly force, on persons; 4) unlawful searching and
6

7
     seizing persons’ homes and effects / personal property12; 5) falsely arresting and

8    falsely imprisoning persons; 6) fabricating / destroying / concealing / altering /
9
     withholding evidence in criminal and civil actions; 7) “framing” / attempting to
10

11   “frame” innocent persons in criminal actions13, 8) violating and interfering with
12
     persons’ constitutionally protected right to free speech and right to petition the
13

14
     government for redress of grievances; 9) violating, interfering with and depriving

15   persons of their of constitutionally protected parent - child relationships; 10)
16
     covering-up unlawful and tortious conduct by the County of San Bernardino
17

18   Deputy Sheriffs and other County personnel, and were a proximate cause of the
19
     very same California state law, and federal and state statutory and constitutional
20

21
     violations complained of by the plaintiffs in this action.

22          35.    Plaintiffs are presently unaware of the identities of DOES 1 through
23

24

25
     12
        Such as by using and abusing the search warrant process along with the unlawful search and
26
     seizure of private residences, to perform civil liability investigations for the County of San
27   Bernardino and for the City of Barstow, and not for the purpose of investigating criminal
     activity.
     13
28      To protect themselves and other police officers and deputy sheriffs and supervisory personnel
     from civil, administrative and criminal liability.
                        SECOND AMENDED COMPLAINT FOR DAMAGES
                                         16
 Case 5:18-cv-02087-JGB-SHK Document 46 Filed 08/16/19 Page 17 of 68 Page ID #:426



1    10, inclusive, and will amend their Complaint for Damages to add and to show the
2
     actual names of said DOE defendants, when ascertained by plaintiffs.
3

4           36.   In addition to the above and foregoing, defendants RAMIREZ,
5
     SPILLER, BUESA, ESPINOZA, LEWIS, CLEARY, ALVARADO, MOTLEY,
6

7
     WARRICK, WALKER, LAING, TEBBETTS, BARRIENTOS, GILMORE,

8    KIRBY, BENITEZ and DOES 1 through 6, inclusive, acted pursuant to a
9
     conspiracy, agreement and understanding and common plan and scheme to
10

11   deprive the plaintiffs Margaret Alba, A.S., L.S., S.S., and Daisy Sanchez and
12
     Gloria Ann Almazon, and plaintiff’s decedent Leonard Sanchez, of their federal
13

14
     and California Constitutional and statutory rights, as complained of in this action,

15   and acted in joint, concerted and conspiratorial action to so deprive plaintiffs
16
     Margaret Alba, A.S., L.S., S.S., and Daisy Sanchez and Gloria Ann Almazon of
17

18   those rights as complained of herein; all in violation of 42 U.S.C. § 1983, and
19
     otherwise in violation of United States and California Constitutional and statutory
20

21
     law.

22          37.   Said conspiracy / agreement / understanding / plan / scheme / joint
23
     action / concerted action, above-referenced, was a proximate cause of the
24

25   violation of the plaintiffs Margaret Alba’s, A.S.’s, L.S.’s, S.S.’s, and Daisy
26
     Sanchez’ and Gloria Ann Almazon’s federal and state constitutional and statutory
27

28
     rights, as complained of herein.


                      SECOND AMENDED COMPLAINT FOR DAMAGES
                                       17
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1                             FIRST CAUSE OF ACTION
2           USE OF UNREASONABLE FORCE UPON PERSON UNDER
                              FOURTH AMENDMENT14
3
                                    [42 U.S.C. § 1983]
4             [Survivorship Claim Under Cal. Civ. Proc. Code § 377.30]
     (By Plaintiff Margaret Alba, as guardian ad litem for her minor children A.S.,
5
       L.S. and S.S. as successors in interest to Leonard Angelo Sanchez, and by
6     Daisy Sanchez, as a successor in interest to Leonard Angelo Sanchez, against
7
                       Defendants SPILLER, BUESA, CITY and
                              DOES 1 through 6, inclusive)
8

9              38.    Plaintiffs hereby reallege and incorporate by reference the allegations
10
     set forth in paragraphs 1 through 37, inclusive, above, as if set forth in full herein.
11
               39.    On the evening of February 25, 2018, a “911 call” was made to the
12

13   police by plaintiff Margaret Alba (“ALBA”) regarding the behavior of Leonard
14
     Angelo Sanchez, as Leonard Angelo Sanchez was threatening to harm himself
15

16   with a knife, and ALBA was worried that he might do so, and was, therefore,
17
     asking the police for help for Leonard Angelo Sanchez.
18
               40.    Defendants SPILLER and BUESA were dispatched to and arrived at
19

20   the Sands Motel15, located at 924 East Main Street, Barstow, California where
21
     plaintiffs Margaret Alba, A.S., L.S., S.S. and Leonard Angelo Sanchez resided.
22

23             41.    When defendants SPILLER and BUESA arrived at the Sands Motel
24
     in response to ALBA’s 911 call, Leonard Angelo Sanchez, minor plaintiff L.S.
25

26

27
     14
28        U.S. Const. Amend. 4.
     15
          A residence type motel.
                           SECOND AMENDED COMPLAINT FOR DAMAGES
                                            18
 Case 5:18-cv-02087-JGB-SHK Document 46 Filed 08/16/19 Page 19 of 68 Page ID #:428



1    and Margaret Alba were standing outside of the doorway area of their motel room
2
     (Room Number 10), and A.S. and S.S. were inside said motel room.
3

4          42.    When defendants SPILLER and BUESA approached them minor
5
     plaintiff L.S. complained to his father, Leonard Angelo Sanchez, that he ruins
6

7
     everything, and walked into the motel room; behind Leonard Angelo Sanchez and

8    plaintiff Margaret Alba who were standing outside of the motel room and facing
9
     SPILLER and BUESA.
10

11         43.    Plaintiff Margaret Alba told SPILLER and BUESA that they wanted
12
     Leonard Angelo Sanchez to leave their motel room and that he was acting crazy.
13

14
     Leonard Angelo Sanchez agreed (that he was crazy) he then displayed two kitchen

15   knives with his right hand, and then held them one knife in each his hands in a
16
     nonthreatening manner to others.
17

18         44. While holding the knives in his hand, defendant SPILLER pointed his
19
     pistol at Leonard Angelo Sanchez, and defendant BUESA pointed his taser at
20

21
     Leonard Angelo Sanchez, and both officers were yelling at Leonard Angelo

22   Sanchez, ordering him to drop the knives.
23
           45.    Leonard Angelo Sanchez did not expressly or impliedly threaten
24

25   anyone other than himself, with said knives, and held them against flush against
26
     his front midsection.
27

28
           46.    Margaret Alba then walked into the motel room.


                      SECOND AMENDED COMPLAINT FOR DAMAGES
                                       19
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1              47.     After defendants SPILLER and BUESA continued to point their
2
     weapons at Leonard Angelo Sanchez and demand that he drop the knives, and
3

4    Leonard Angelo Sanchez turned to walk back into the motel room, and stopped at
5
     the doorway and looked back at said officers.
6

7
               48.     Defendant BUESA said to SPILLER “Do you want me to try to tase

8    him? Do you want me to try to tase him? Drop …. “, and immediately thereafter
9
     BUESA fired his taser at Leonard Angelo Sanchez as he stood in the doorway.
10

11             49.     Immediately after BUESA shot Leonard Angelo Sanchez with his
12
     taser, SPILLER shot Leonard Angelo Sanchez with his pistol as he was still
13

14
     standing on the threshold of the doorway of the motel room.

15             50.     After the defendants SPILLER and BUESA shot Leonard Angelo
16
     Sanchez the first time, he fell onto the bed into a helpless position in the motel
17

18   room. Margaret Alba kept yelling at the defendants SPILLER and BUESA:
19
     “Don’t shoot, don’t shoot, he dropped the knife”16.
20

21
               51.     At the time of the first shooting, all three minor children plaintiffs

22   were in the room, including A.S., L.S., S.S., and they personally witnessed
23
     defendant SPILLER shoot their father, and the plaintiffs were in the line of fire
24

25   such that SPILLER placed the plaintiffs in greater danger by shooting Leonard
26

27

28
     16
          Or words to that effect.
                            SECOND AMENDED COMPLAINT FOR DAMAGES
                                             20
 Case 5:18-cv-02087-JGB-SHK Document 46 Filed 08/16/19 Page 21 of 68 Page ID #:430



1    Angelo Sanchez than any possible danger posed to them by Leonard Angelo
2
     Sanchez.
3

4          52.     Thereafter, notwithstanding Leonard Angelo Sanchez now lying on
5
     the bed and disabled by the gunshot wound, and not posing any threat to either the
6

7
     minor plaintiffs or plaintiff Margaret Alba, plaintiffs begged the officers not to

8    shoot him again, but defendant SPILLER proceeded to shoot Leonard Angelo
9
     Sanchez two more times while he was in a supine position on the bed and posed a
10

11   threat to no one.
12
           53. The additional two shots by defendant SPILLER occurred after
13

14
     Leonard Angelo Sanchez was already shot once, after he was lying on his back

15   and on the bed inside the motel room, and posing no threat to anyone. The three
16
     gunshots also collectively resulted in Leonard Angelo Sanchez’ death on February
17

18   25, 2018.
19
           54.     After the defendant officers SPILLER and BUESA shot Leonard
20

21
     Angelo Sanchez, they pointed and brandished their weapons at the minor plaintiffs

22   and Margaret Alba and ordered them to get out of their motel room, which was
23
     their home.
24

25         55.     Minor plaintiff A.S. was horrified and ran into the bathroom of the
26
     motel room.
27

28
           56.     Plaintiff Margaret Alba then begged the defendant officers not to


                         SECOND AMENDED COMPLAINT FOR DAMAGES
                                          21
 Case 5:18-cv-02087-JGB-SHK Document 46 Filed 08/16/19 Page 22 of 68 Page ID #:431



1    shoot her children, and said defendant officers then pointed their guns at the
2
     plaintiffs, including the minor plaintiffs, and ordered them to exit the motel room.
3

4          57.     Plaintiffs were terrified, horrified and terrorized by seeing their
5
     father shot before their eyes, and were terrified by having guns pointed at them
6

7
     while being ordered to leave the motel room, and ran out of the motel room to

8    comply with said defendants’ orders.
9
           58.     Said deadly shooting of Leonard Angelo Sanchez by said defendants
10

11   SPILLER and BUESA also caused Leonard Angelo Sanchez to suffer severe
12
     physical injury and ultimately his death, as well as severe mental, emotional and
13

14
     physical pre-death, distress, pain and suffering; in an amount to be proven at trial,

15   in excess of $3,000,000.00.
16
           60.    Said shooting of Leonard Angelo Sanchez by defendants SPILLER
17

18   and BUESA was done by said defendant police officers unreasonably, without
19
     reasonable cause to believe that Leonard Angelo Sanchez was such an imminent
20

21
     danger to others that it was reasonably necessary to shoot him at all, and was done

22   without legal or moral justification for doing so.
23
           61.    Accordingly, said shooting of Leonard Angelo Sanchez was done in
24

25   violation of his right to be free from the use of unreasonable force upon his person
26
     under the Fourth Amendment to the United States Constitution.
27

28
           62.    Said shooting of Leonard Angelo Sanchez by defendants SPILLER


                      SECOND AMENDED COMPLAINT FOR DAMAGES
                                       22
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1    and BUESA also caused plaintiffs’ decedent Leonard Angelo Sanchez to suffer
2
     severe physical injuries, and severe pre-death pain and suffering, severe pre-death
3

4    mental and emotional injuries, pain and suffering, as well as other general and
5
     special damages, including but not limited to, lost wages / profits and other
6

7
     income that plaintiffs’ decedent Leonard Angelo Sanchez would have earned /

8    made / acquired during his lifetime, the loss of Leonard Angelo Sanchez’s
9
     residence and the other property of Leonard Angelo Sanchez, funeral and burial
10

11   expenses, hospital and other medical expenses and costs, and other special
12
     damages; all in an amount to be shown at trial, in excessive of $5,000,000.00.
13

14
           63.    Said deadly shooting of Leonard Angelo Sanchez by defendants

15   SPILLER and BUESA was done maliciously and in reckless disregard of Leonard
16
     Angelo Sanchez’s constitutional rights; sufficient for an award of punitive
17

18   damages against said defendants; in an amount to be shown at trial, in excessive
19
     of $3,000,000.00 for each plaintiff.
20

21
                            SECOND CAUSE OF ACTION
                  UNREASONABLE FORCE ON PERSON UNDER
22                             FOURTH AMENDMENT
23                                 [42 U.S.C. § 1983]
                                [Direct Liability Action]
24
         (By Plaintiff Margaret Alba, individually and as guardian ad litem for
25     plaintiff minor children A.S., L.S. and S.S., against Defendants SPILLER,
                    BUESA, CITY and DOES 1 through 6, inclusive)
26

27         64.    Plaintiffs hereby reallege and incorporate by reference the allegations
28
     set forth in paragraphs 1 through 63, inclusive, above, as if set forth in full herein.
                       SECOND AMENDED COMPLAINT FOR DAMAGES
                                        23
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1          65.    As set forth above, defendants SPILLER and BUESA, inclusive,
2
     pointed their guns at plaintiffs Margaret Alba, A.S., L.S. and S.S and yelled at
3

4    them to get out of their motel room after said defendants shot Leonard Angelo
5
     Sanchez inside of said room.
6

7
           66.    Defendants SPILLER and BUESA’s pointing of their guns at the

8    plaintiffs, above-referenced, was done by said defendants without any legal or
9
     moral justification for doing so. The plaintiffs did not commit any crimes and
10

11   posed no threat to said defendants.
12
           67.    Accordingly, defendants SPILLER and BUESA’s pointing of their
13

14
     guns at plaintiffs Margaret Alba, A.S., L.S. and S.S constituted the threatened use

15   of unreasonable deadly force upon the plaintiffs, in violation of their right to be free
16
     from the threatened use of unreasonable deadly force upon them under the Fourth
17

18   Amendment of the United States Constitution.
19
           68.    As a direct and proximate result of the actions of said defendants,
20

21
     plaintiffs Margaret Alba, A.S., L.S. and S.S.: 1) were substantially physically,

22   mentally and emotionally injured, and suffered great physical, mental and
23
     emotional injury, distress, pain and suffering; 2) incurred medical and
24

25   psychological costs, bills and expenses, 3) incurred attorney’s fees and associated
26
     litigation and other related costs, and 4) incurred the loss of business wages and
27

28
     profits, and 5) incurred other special and general damages and expenses, in an


                       SECOND AMENDED COMPLAINT FOR DAMAGES
                                        24
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1    amount to be proven at trial, in excess of $3,000,000.00 each.
2
           69.    The actions by said defendants were committed maliciously and
3

4    oppressively and in reckless disregard of the plaintiff’s constitutional rights;
5
     sufficient for an award of punitive / exemplary damages against defendants
6

7
     SPILLER and BUESA in an amount to be proven at trial in excess of

8    $3,000,000.00 for each plaintiff against each SPILLER and BUESA.
9
                              THIRD CAUSE OF ACTION
10
                  UNREASONABLE SEIZURE OF PERSON UNDER
11                             FOURTH AMENDMENT
                                    [42 U.S.C. § 1983]
12
                                [Direct Liability Action]
13    (By Plaintiff Margaret Alba, individually and as guardian ad litem for minor
14
                     children A.S., L.S. and S.S., against Defendants)

15         70.    Plaintiffs hereby reallege and incorporate by reference the allegations
16
     set forth in paragraphs 1 through 69, inclusive, above, as though set forth in full
17

18   herein.
19
           71.    As shown above, on February 25, 2018, plaintiff Leonard Angelo
20

21
     Sanchez was shot with a taser by BUESA, and was immediately thereafter shot

22   with a pistol three times by defendant SPILLER, which resulted in his death by
23
     said defendants.
24

25         72.    Moreover, as shown above, plaintiff Leonard Angelo Sanchez
26
     suffered severe injuries from gunshot wounds from being shot three times by
27

28
     defendant SPILLER, and from being shot with BUESA’s taser.


                        SECOND AMENDED COMPLAINT FOR DAMAGES
                                         25
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1          73.    When defendants SPILLER and BUESA shot plaintiff Leonard
2
     Angelo Sanchez, in the same room where plaintiffs Margaret Alba, A.S., L.S. and
3

4    S.S. were and where they resided, defendants SPILLER and BUESA, and thereafter
5
     by defendants RAMIREZ and/or ESPINOZA and/or LEWIS and/or CLEARY
6

7
     and/or ALVARADO and/or MOTLEY and/or WARRICK and/or WALKER

8    and/or LAING and/or BARRIENTOS and/or GILMORE and/or KIRBY and/or
9
     BENITEZ and DOES 1 through 6, inclusive, seized plaintiffs Margaret Alba,
10

11   A.S., L.S. and S.S. and held them confined in other rooms at said motel, and
12
     thereafter took them against their will to the Barstow Police Department’s
13

14
     Detective’s Offices in Barstow, California and held them there against their will for

15   several hours for interrogation by those San Bernardino County Sheriff’s
16
     Department investigators shown above and below, pursuant to a policy, and
17

18   longstanding custom and practice of both CITY and COUNTY, for Barstow Police
19
     Department Officers to unlawfully seize witnesses and victims of officer-involved-
20

21
     shootings (by Barstow Police Department officers) for them to be unlawfully

22   interrogated by San Bernardino County Sheriff’s Department officer-involved-
23
     shooting Investigators at said station, pursuant to such unlawful seizures of
24

25   witnesses, to protect CITY and Barstow Police Department Officers from civil
26
     liability, from criminal liability and from obloquy.
27

28
           74.    During said confinements (that constitute arrests) of the plaintiffs,


                       SECOND AMENDED COMPLAINT FOR DAMAGES
                                        26
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1    above-described at the motel and at the Barstow Police Station, initially by
2
     defendants SPILLER and BUESA, and thereafter by defendants RAMIREZ
3

4    and/or ESPINOZA and/or LEWIS and/or CLEARY and/or ALVARADO and/or
5
     MOTLEY and/or WARRICK and/or WALKER and/or LAING and/or
6

7
     BARRIENTOS and/or GILMORE and/or KIRBY and/or BENITEZ and DOES 1

8    through 6, inclusive, was done by them to interrogate said plaintiffs for civil
9
     liability purposes; not to investigate any crimes by them or by Leonard Angelo
10

11   Sanchez, but to get them to make inconsistent statements and other coerced /
12
     tainted statements to them to attempt to protect defendants SPILLER, BUESA,
13

14
     CITY and COUNTY from civil liability to said plaintiffs, and to protect

15   defendants SPILLER, BUESA and DOES 1 through 6, inclusive, from Internal
16
     Discipline and possible criminal prosecution. This was standard, routine and
17

18   longstanding policy and practice of all defendants to protect themselves and each
19
     other from civil liability, including seizing witnesses to police shootings and
20

21
     interrogating them without telling them that the person who the police shot had

22   died.
23
             75.   Said defendants had no probable cause to believe that any of the
24

25   plaintiffs committed a crime, nor any reasonable suspicion of criminality afoot by
26
     any of the plaintiffs, nor any reason to believe that the plaintiffs were doing
27

28
     anything that posed or that would have posed any dangers to others, nor any


                       SECOND AMENDED COMPLAINT FOR DAMAGES
                                        27
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1    reason to believe that if they didn’t obtain statements from the plaintiffs that day
2
     that they would not be able to locate the plaintiffs to obtain statements from them
3

4    at some later date and time.
5
           76.    Accordingly, said seizures (detentions and arrests) of the plaintiffs
6

7
     Margaret Alba, A.S., L.S. and S.S. by defendants SPILLER and BUESA, and

8    thereafter by defendants RAMIREZ and/or ESPINOZA and/or LEWIS and/or
9
     CLEARY and/or ALVARADO and/or MOTLEY and/or WARRICK and/or
10

11   WALKER and/or LAING and/or BARRIENTOS and/or GILMORE and/or
12
     KIRBY and/or BENITEZ and DOES 1 through 6, inclusive, was done in violation
13

14
     of their right to be free from an unreasonable seizure of their person under the

15   Fourth Amendment to the United States Constitution.
16
           77.    As a direct and proximate result of the actions of the unlawful /
17

18   unreasonable seizure of plaintiffs by defendants SPILLER and BUESA, and
19
     thereafter by defendants RAMIREZ and/or ESPINOZA and/or LEWIS and/or
20

21
     CLEARY and/or ALVARADO and/or MOTLEY and/or WARRICK and/or

22   WALKER and/or LAING and/or BARRIENTOS and/or GILMORE and/or
23
     KIRBY and/or BENITEZ and DOES 1 through 6, inclusive, plaintiffs: 1) were
24

25   substantially physically, mentally and emotionally injured, and suffered great
26
     physical, mental and emotional injury, distress, pain and suffering; 2) incurred
27

28
     medical and psychological costs, bills and expenses, 3) incurred attorney’s fees


                      SECOND AMENDED COMPLAINT FOR DAMAGES
                                       28
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1    and associated litigation and other related costs, and 4) incurred the loss of
2
     business wages and profits, 5) incurred other special and general damages and
3

4    expenses, in an amount to be proven at trial, in excess of $3,000,000.00 per
5
     plaintiff.
6

7
            78.   The actions of said defendants, and each of them, as complained of

8    herein, were committed maliciously, oppressively and in reckless disregard of
9
     Plaintiffs’ constitutional rights, sufficient for an award of punitive / exemplary
10

11   damages against said defendants, in an amount to be proven at trial, in excess of
12
     $3,000,000.00 for each plaintiff.
13

14                          FOURTH CAUSE OF ACTION
15
     LOSS OF PARENT- CHILD RELATIONSHIP WITHOUT DUE PROCESS
                   OF LAW UNDER FOURTEENTH AMENDMENT
16                                 [42 U.S.C. § 1983]
17                              [Direct Liability Action]
     (By Plaintiff Margaret Alba, as guardian ad litem for minor children A.S., L.S.
18
       and S.S., and Daisy Sanchez and Gloria Ann Almazon against Defendants
19                           SPILLER, BUESA and CITY)
20
            79.   Plaintiffs hereby reallege and incorporate by reference the allegations
21

22
     set forth in paragraphs 1 through 78, inclusive, above, as though set forth in full

23   herein.
24
            80.   The unlawful killing of plaintiffs’ decedent, Leonard Angelo
25

26   Sanchez, by defendants SPILLER and BUESA, described-above, was done by
27
     them with a deliberate indifference to and a reckless disregard of the plaintiffs’
28


                      SECOND AMENDED COMPLAINT FOR DAMAGES
                                       29
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1    child-parent / parent-child relationships with their father and son, Leonard Angelo
2
     Sanchez, and deprived minor children plaintiffs A.S., L.S., S.S., adult plaintiff
3

4    Daisy Sanchez and plaintiff Gloria Ann Almazon (the Mother of Leonard Angelo
5
     Sanchez) of their Parent – Child Relationship with Leonard Angelo Sanchez, and
6

7
     deprived said plaintiffs of their rights guaranteed to them under the Fourteenth

8    Amendment to the United States Constitution17.
9
            81.    The use of unreasonable force upon Leonard Angelo Sanchez that
10

11   resulted in the unlawful killing of him by defendants SPILLER and BUESA was
12
     done intentionally, was done in a manner that constituted the use of unreasonable
13

14
     force, and was done in a manner that constituted a deliberate indifference to and

15   reckless disregard of Leonard Angelo Sanchez’s life and to said Child – Parent
16
     Relationship, and constituted outrageous behavior that was shocking to the
17

18   conscience.
19
            82.    Moreover, the ordering of the plaintiffs out of their motel room while
20

21
     their father and the father of Margaret Alba’s children was laying on the bed in the

22   room, dying, and wanting to be comforted by his children, and with his children
23
     not wanting to leave their dying father’s presence, deprived the plaintiffs of their
24

25

26

27
     17
28     As shown above, plaintiff Margaret Alba is Guardian Ad Litem for the minor plaintiffs A.S.,
     L.S. and S.S., successors in interest, to plaintiffs’ decedent Leonard Angelo Sanchez.
                        SECOND AMENDED COMPLAINT FOR DAMAGES
                                         30
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1    right to be with their dying father while he was still alive; also in violation of the
2
     plaintiffs Parent – Child Relationship with Leonard Angelo Sanchez.
3

4          83.    The unlawful killing of plaintiffs’ deceased, Leonard Angelo
5
     Sanchez, by defendants SPILLER and BUESA, above-referenced, and the
6

7
     ordering of the minor plaintiffs outside of their motel room also caused plaintiffs

8    Gloria Ann Almazon, Daisy Sanchez, A.S., L.S. and S.S. to suffer the loss of their
9
     father and son Leonard Angelo Sanchez’s society, the loss of his solace and
10

11   comfort, companionship, as well as caused them to suffer great mental and
12
     emotional and distress, pain and suffering and loss of support, and special
13

14
     damages such as support and other monies and property from their late father and

15   son in an amount to be shown at trial, in excess of $10,000,000.00 each.
16
           84.    The unlawful killing of Leonard Angelo Sanchez by defendants
17

18   SPILLER and BUESA was done maliciously and in reckless disregard of
19
     plaintiffs’ constitutional rights, sufficient for an award of punitive damages
20

21
     against defendants SPILLER and BUESA; all in an amount to be shown at trial, in

22   excess of $3,000,000.00 for each plaintiff against both SPILLER and BUESA.
23
                              FIFTH CAUSE OF ACTION
24
                 UNLAWFUL SEIZURE OF PRIVATE RESIDENCE
25                                  [42 U.S.C. § 1983]
                                [Direct Liability Action]
26
         (By Plaintiff Margaret Alba, individually and as guardian ad litem for
27   plaintiff minor children A.S., L.S. and S.S., against Defendants SPILLER and
28
                                          BUESA)


                       SECOND AMENDED COMPLAINT FOR DAMAGES
                                        31
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1          85.    Plaintiffs hereby reallege and incorporate by reference the allegations
2
     set forth in paragraphs 1 through 84, inclusive, above, as though set forth in full
3

4    herein.
5
           86.    When defendants SPILLER and BUESA shot plaintiff Leonard
6

7
     Angelo Sanchez, in the same room where plaintiffs Margaret Alba, A.S., L.S. and

8    S.S. were and where they resided, defendants SPILLER and BUESA seized
9
     plaintiffs Margaret Alba, A.S., L.S. and S.S., and held them confined in other rooms
10

11   at said motel.
12
           87.    In addition, after shooting Leonard Angelo Sanchez, defendants
13

14
     SPILLER and BUESA pointed their guns at plaintiffs Margaret Alba, A.S., L.S.

15   and S.S. and yelled at them to get out of their motel room; essentially threatening
16
     them with being shot for their refusal / failure to exit their motel room.
17

18         88.    Said plaintiffs exited their motel room pursuant to said defendants’
19
     orders to do so; above-referenced.
20

21
           89.    Soon thereafter, defendants SPILLER and BUESA closed the door of

22   the plaintiff’s motel room; preventing the plaintiffs or anyone else from seeing what
23
     was going on inside of the motel room.
24

25         90.        Moreover, defendants SPILLER and BUESA kept the plaintiffs from
26
     access to their personal property that was inside of the motel room when the
27

28
     plaintiffs were forced out of the same.


                         SECOND AMENDED COMPLAINT FOR DAMAGES
                                          32
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1           91.      Accordingly, the actions of defendants SPILLER and BUESA in
2
     forcing the plaintiffs out of their motel room and keeping them out of the same
3

4    constituted a seizure of the plaintiffs’ residence by said defendants, in the absence of
5
     a warrant or any other legal justification for the same; in violation of the plaintiffs
6

7
     right to be in their own residence under the Fourth Amendment to the United States

8    Constitution.
9
            92.      As a direct and proximate result of the actions of defendants
10

11   SPILLER and BUESA the unlawful / unreasonable seizure of plaintiffs residence,
12
     plaintiffs: 1) were substantially physically injured, mentally and emotionally
13

14
     injured, and suffered great physical, mental and emotional injury, distress, pain

15   and suffering; 2) incurred medical and psychological costs, bills and expenses, 3)
16
     incurred attorney’s fees and associated litigation and other related costs, and 4)
17

18   incurred the loss of business wages and profits, 5) incurred other special and
19
     general damages and expenses, in an amount to be proven at trial, in excess of
20

21
     $3,000,000.00.

22          93.      The actions of said defendants, and each of them, as complained of
23
     herein, were committed maliciously, oppressively and in reckless disregard of
24

25   plaintiff’s constitutional rights, sufficient for an award of punitive / exemplary
26
     damages against said defendants, in an amount to be proven at trial, in excess of
27

28
     $3,000,000.00 for each plaintiff.


                         SECOND AMENDED COMPLAINT FOR DAMAGES
                                          33
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1
                              SIXTH CAUSE OF ACTION
2        UNLAWFUL SEARCH AND SEIZURE OF PRIVATE RESIDENCE
3                                   [42 U.S.C. § 1983]
                                 [Direct Liability Action]
4
         (By Plaintiff Margaret Alba, individually and as guardian ad litem for
5          plaintiff minor children A.S., L.S. and S.S., against all Defendants)
6
           94.    Plaintiffs hereby reallege and incorporate by reference the allegations
7

8
     set forth in paragraphs 1 through 93, inclusive, above, as though set forth in full

9    herein.
10
           95.    As alleged above, when defendants SPILLER and BUESA shot
11

12   plaintiff Leonard Angelo Sanchez, in the same room where plaintiffs Margaret
13
     Alba, A.S., L.S. and S.S. were, and where they resided, defendants SPILLER,
14

15
     BUESA, RAMIREZ and/or ESPINOZA and/or LEWIS and/or CLEARY and/or

16   ALVARADO and/or MOTLEY and/or WARRICK and/or WALKER and/or
17
     LAING and/or BARRIENTOS and/or GILMORE and/or KIRBY and/or BENITEZ
18

19   and DOES 1 through 6, inclusive, seized plaintiffs Margaret Alba, A.S., L.S. and
20
     S.S., and held them confined in other rooms at said motel, and thereafter took them
21

22
     against their will to, and imprisoned them at the Barstow Police Department’s

23   Detective’s Offices in Barstow, California.
24
           96.    In addition, as alleged above, after shooting Leonard Angelo Sanchez
25

26   defendants SPILLER and BUESA pointed their guns at plaintiffs Margaret Alba,
27
     A.S., L.S. and S.S. and yelled at them to get out of their motel room; essentially
28


                      SECOND AMENDED COMPLAINT FOR DAMAGES
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1    threatening them with being shot for their refusal / failure to exit their motel room.
2
            97.     In addition, as alleged above, said plaintiffs exited their motel room
3

4    pursuant to said defendants’ demands to do so; above-referenced.
5
            98.     In addition, as alleged above, defendants SPILLER and BUESA, and
6

7
     thereafter defendants RAMIREZ and/or ESPINOZA and/or LEWIS and/or

8    CLEARY and/or ALVARADO and/or MOTLEY and/or WARRICK and/or
9
     WALKER and/or LAING and/or BARRIENTOS and/or GILMORE and/or
10

11   KIRBY and/or BENITEZ and DOES 1 through 6, inclusive, used yellow police
12
     tape to cordon-off the area around and their motel room at the Sands Motel, to keep
13

14
     them and others away from and out of the plaintiff’s motel room.

15          99.     Moreover, as alleged above, defendants SPILLER and BUESA, and
16
     thereafter defendants RAMIREZ and/or ESPINOZA and/or LEWIS and/or
17

18   CLEARY and/or ALVARADO and/or MOTLEY and/or WARRICK and/or
19
     WALKER and/or LAING and/or BARRIENTOS and/or GILMORE and/or
20

21
     KIRBY and/or BENITEZ and DOES 1 through 6, inclusive, ejected the plaintiffs

22   out of their motel room, to prevent them from gathering evidence showing the
23
     wrongfulness of the shooting of Leonard Angelo Sanchez, and allowing them to do
24

25   the civil liability investigation to protect SPILLER and BUESA and CITY from
26
     civil liability.
27

28
            100. Moreover, as alleged above, defendants SPILLER and BUESA, and


                        SECOND AMENDED COMPLAINT FOR DAMAGES
                                         35
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1    thereafter defendants RAMIREZ and/or ESPINOZA and/or LEWIS and/or
2
     CLEARY and/or ALVARADO and/or MOTLEY and/or WARRICK and/or
3

4    WALKER and/or LAING and/or BARRIENTOS and/or GILMORE and/or
5
     KIRBY and/or BENITEZ and DOES 1 through 6, inclusive, kept the plaintiffs
6

7
     from access to their personal property that was inside of the motel room when the

8    plaintiffs were forced out of the same.
9
           101. In addition to the above and foregoing, following defendants SPILLER
10

11   and BUESA, and thereafter defendants RAMIREZ and/or ESPINOZA and/or
12
     LEWIS and/or CLEARY and/or ALVARADO and/or MOTLEY and/or
13

14
     WARRICK and/or WALKER and/or LAING and/or BARRIENTOS and/or

15   GILMORE and/or KIRBY and/or BENITEZ and DOES 1 through 6, inclusive,
16
     forcing the plaintiffs out of their motel room, defendants SPILLER, BUESA and/or
17

18   RAMIREZ and/or ESPINOZA and/or LEWIS and/or CLEARY and/or
19
     ALVARADO and/or MOTLEY and/or WARRICK and/or WALKER and/or
20

21
     LAING and/or BARRIENTOS and/or GILMORE and/or KIRBY and/or

22   BENITEZ and DOES 1 through 6, inclusive, unlawfully obtained a search warrant
23
     for the search of said motel room; not to investigate criminal behavior, but to
24

25   perform a civil liability investigation for the City of Barstow by the County of San
26
     Bernardino; an abuse of the search warrant provisions of California and federal
27

28
     statutory and constitutional law.


                      SECOND AMENDED COMPLAINT FOR DAMAGES
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1          102. The affidavit for the search warrant (i.e. Statement of Probable Cause)
2
     was devoid of any facts that indicated that the defendants were even doing any sort
3

4    of criminal investigation, and only showed that pursuant to the policies and the
5
     longstanding customs and practices of the Barstow Police Department and the San
6

7
     Bernardino County Sheriff’s Department, the defendants were abusing the search

8    warrant process to unlawfully conduct a Civil Liability Investigation for the Barstow
9
     Police Department and for SPILLER and BUESA; to protect them from civil
10

11   liability for the shooting of Leonard Angelo Sanchez described above.
12
           103. Moreover, even if said defendants were doing a criminal investigation
13

14
     regarding the shooting of Leonard Angelo Sanchez, the Statement of Probable

15   Cause for the search warrant contained no facts that showed either that any crime
16
     had been committed, especially any felony, or, that the search of the plaintiff’s motel
17

18   room was likely to contain evidence of any crime.
19
           104. No reasonable police officer could have believed that said search
20

21
     warrant application was sufficient to pass muster under Fourth Amendment scrutiny.

22   Nonetheless the judge issued the search warrant, as they routinely do without
23
     sufficient legal cause to do so.
24

25         105. In any case, said defendants searched the plaintiffs’ motel room at the
26
     Sands Motel while the plaintiffs were being held against their will in the Barstow
27

28
     Police Department; in violation of the plaintiffs’ rights under the Fourth Amendment


                       SECOND AMENDED COMPLAINT FOR DAMAGES
                                        37
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1    to the United States Constitution.
2
           106. As a direct and proximate result of the actions of defendants
3

4    SPILLER, BUESA and/or RAMIREZ and/or ESPINOZA and/or LEWIS and/or
5
     CLEARY and/or ALVARADO and/or MOTLEY and/or WARRICK and/or
6

7
     WALKER and/or LAING and/or BARRIENTOS and/or GILMORE and/or

8    KIRBY and/or BENITEZ and DOES 1 through 6, inclusive, unlawfully /
9
     unreasonably searching of plaintiffs’ motel room, plaintiffs were: 1) substantially
10

11   physically injured, mentally and emotionally injured, and suffered great physical,
12
     mental and emotional injury, distress, pain and suffering; 2) incurred medical and
13

14
     psychological costs, bills and expenses, 3) incurred attorney’s fees and associated

15   litigation and other related costs, and 4) incurred the loss of business wages and
16
     profits, 5) incurred other special and general damages and expenses, in an amount
17

18   to be proven at trial, in excess of $3,000,000.00 for each plaintiff.
19
           107. The actions of said defendants, and each of them, as complained of
20

21
     herein, were committed maliciously, oppressively and in reckless disregard of

22   plaintiff’s constitutional rights, sufficient for an award of punitive / exemplary
23
     damages against said defendants, in an amount to be proven at trial, in excess of
24

25   $3,000,000.00 for each plaintiff.
26
     ///
27

28
     ///


                      SECOND AMENDED COMPLAINT FOR DAMAGES
                                       38
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1
                              SEVENTH CAUSE OF ACTION
2                        Wrongful Death18 Under California State Law
3                                  [Direct Liability Action]
          (By Plaintiffs Margaret Alba, as guardian ad litem for minor children A.S.,
4
          L.S. and S.S. and Daisy Sanchez, against all defendants SPILLER, BUESA
5                        and DOES 1 through 3, inclusive, and CITY)
6
               108. Plaintiffs hereby reallege and incorporate by reference the allegations
7

8
     set forth in paragraphs 1 through 107, inclusive, above, as if set forth in full

9    herein.
10
               109. As alleged above, when defendants SPILLER and BUESA arrived at
11

12   the Sands Motel in response to ALBA’s 911 call, Leonard Angelo Sanchez, minor
13
     plaintiff L.S. and Margaret Alba were standing outside of the doorway area of
14

15
     their motel room (Room Number 10), and A.S. and S.S. were inside said motel

16   room.
17
               110. When defendants SPILLER and BUESA approached them minor
18

19   plaintiff L.S. complained to his father, Leonard Angelo Sanchez, that he ruins
20
     everything, and walked into the motel room; behind Leonard Angelo Sanchez and
21

22
     plaintiff Margaret Alba who were standing outside of the hotel room.

23             111. Plaintiff Margaret Alba told SPILLER and BUESA that they wanted
24
     Leonard Angelo Sanchez to leave their motel room and that he was acting crazy,
25

26

27

28
     18
          Based on California state law; Cal. Civ. Proc. Code § 377.60 et seq.
                           SECOND AMENDED COMPLAINT FOR DAMAGES
                                            39
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1    and Leonard Angelo Sanchez agreed, and then displayed two kitchen knives, and
2
     held them in his hand in a nonthreatening manner to others; only to himself.
3

4          112. While holding the knives in his hands, defendant SPILLER pointed
5
     his pistol at Leonard Angelo Sanchez, and defendant BUESA pointed his taser at
6

7
     Leonard Angelo Sanchez and both officers were yelling at Leonard Angelo

8    Sanchez; ordering Leonard Angelo Sanchez to drop the knives.
9
           113. Leonard Angelo Sanchez did not expressly or impliedly threaten
10

11   anyone other than himself, with said knives, and held them against flush against
12
     his front midsection.
13

14
           114. Margaret Alba then walked into the motel room.

15         115. After defendants SPILLER and BUESA continued to point their
16
     weapons at Leonard Angelo Sanchez and demand that he drop the knives, and
17

18   Leonard Angelo Sanchez began to turn to into the motel room, and stopped at the
19
     doorway and looked back at said officers.
20

21
           116. Defendant BUESA said to SPILLER “Do you want me to try to tase

22   him? Do you want me to try to tase him? Drop …. “, and immediately thereafter
23
     fired his taser at Leonard Angelo Sanchez as he stood in the doorway.
24

25         117. Immediately after BUESA shot Leonard Angelo Sanchez with his
26
     taser, SPILLER shot Leonard Angelo Sanchez with his pistol as he was still
27

28
     standing on the threshold of the doorway of the motel room.


                      SECOND AMENDED COMPLAINT FOR DAMAGES
                                       40
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1              118. After the defendants SPILLER and BUESA shot Leonard Angelo
2
     Sanchez the first time, he fell onto the bed into a helpless position in the motel
3

4    room, with Margaret Alba and the minor plaintiffs out of the reach of Leonard
5
     Angelo Sanchez. Margaret Alba kept yelling at the defendants SPILLER and
6

7
     BUESA: “Don’t shoot, don’t shoot, he dropped the knife”19.

8              119. At the time of the first shooting, all three minor children plaintiffs
9
     were in the room, including A.S., L.S., S.S., and they personally witnessed
10

11   defendant SPILLER shoot their father, and the plaintiffs were in the line of fire
12
     such that SPILLER placed the plaintiffs in greater danger by shooting Leonard
13

14
     Angelo Sanchez, than any danger posed to them by Leonard Angelo Sanchez.

15             120. Thereafter, notwithstanding Leonard Angelo Sanchez now lying on
16
     the bed and disabled by the gunshot wound, and not posing any threat to either the
17

18   minor plaintiffs or plaintiff Margaret Alba. The plaintiffs begged the officers not
19
     to shoot him again, but defendant SPILLER proceeded to shoot Leonard Angelo
20

21
     Sanchez two more times while he was in a supine position on the bed and posed a

22   threat to no one.
23
               121. The additional two shots by defendant SPILLER occurred after
24

25   Leonard Angelo Sanchez was already shot once, and after he was lying on his
26

27

28
     19
          Or words to that effect.
                            SECOND AMENDED COMPLAINT FOR DAMAGES
                                             41
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1    back and on the bed inside the motel room, and posed no threat to anyone, and
2
     Margaret Alba kept yelling at the defendants SPILLER and BUESA: “Don’t
3

4    shoot, don’t shoot, he dropped the knife”20. Moreover, at most only the use of
5
     non-lethal force could have arguably been justified to use on Leonard Angelo
6

7
     Sanchez, such as the taser that BUESA used upon Leonard Angelo Sanchez.

8              122. Margaret Alba kept yelling at the defendants SPILLER and BUESA:
9
     “Don’t shoot, don’t shoot, he dropped the knife”21.
10

11             123. As alleged above, at the time of the first shootings by SPILLER and
12
     BUESA, all three minor children plaintiffs were in the room, including A.S., L.S.,
13

14
     S.S., and they personally witnessed defendant SPILLER shoot their father.

15             124. As alleged above, after the defendant officers shot Leonard Angelo
16
     Sanchez they pointed their weapons at the minor plaintiffs and Margaret Alba and
17

18   ordered them to get out of the motel room.
19
               125. As alleged above, minor plaintiff A.S. was horrified and ran into the
20

21
     bathroom of the motel room.

22             126. As alleged above, plaintiff Margaret Alba then begged the defendant
23
     officers not to shoot her children, and said defendant officers then pointed /
24

25

26

27
     20
28        Or words to that effect.
     21
          Or words to that effect.
                            SECOND AMENDED COMPLAINT FOR DAMAGES
                                             42
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1    brandished their guns at the plaintiffs, including the minor plaintiffs, and ordered
2
     them to exit the motel room.
3

4          127. As alleged above, plaintiffs were terrified by seeing their father
5
     wrongfully shot before their eyes, and were terrified by having guns pointed at
6

7
     them while being ordered to leave their motel room, and ran out of the motel room

8    to comply with said defendants’ orders.
9
           128. As alleged above, when defendants SPILLER and BUESA shot
10

11   plaintiff Leonard Angelo Sanchez, in the same room where plaintiffs Margaret
12
     Alba, A.S., L.S. and S.S. were and where they resided, defendants SPILLER and
13

14
     BUESA, and thereafter defendants RAMIREZ and/or ESPINOZA and/or LEWIS

15   and/or CLEARY and/or ALVARADO and/or MOTLEY and/or WARRICK and/or
16
     WALKER and/or LAING and/or BARRIENTOS and/or GILMORE and/or KIRBY
17

18   and/or BENITEZ and DOES 1 through 6, inclusive, seized plaintiffs Margaret
19
     Alba, A.S., L.S. and S.S., and held them confined in other rooms at said motel, and
20

21
     thereafter took them against their wills to the Barstow Police Department’s

22   Detective’s Offices in Barstow, California and confined them there.
23
           129. As alleged above, after shooting Leonard Angelo Sanchez,
24

25   defendants SPILLER and BUESA, pointed their guns at plaintiffs Margaret Alba,
26
     A.S., L.S. and S.S. and yelled at them to get out of their motel room.
27

28
           130. As alleged above, also as set forth above, said plaintiffs exited their


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1    motel room pursuant to defendants’ demands to do so; above-referenced.
2
            131. As alleged above, said deadly shooting of Leonard Angelo Sanchez by
3

4    defendants SPILLER and BUESA also caused Leonard Angelo Sanchez to suffer
5
     severe physical injury and ultimately his death, as well as severe mental, emotional
6

7
     and physical pre-death distress, pain and suffering; in an amount to be proven at

8    trial, in excess of $3,000,000.00 per plaintiff.
9
            132. As alleged above, said shooting of Leonard Angelo Sanchez by
10

11   defendants SPILLER and BUESA was done by defendant police officers without
12
     reasonable cause to believe that Leonard Angelo Sanchez was such a danger to
13

14
     others that is was reasonably necessary to shoot him at all, and was done without

15   legal or moral justification for doing so.
16
            133. It was more dangerous to plaintiffs for SPILLER to have shot at
17

18   Leonard Angelo Sanchez as he stood on the threshold of the doorway to said room,
19
     than any danger posed by Leonard Angelo Sanchez entering said motel room.
20

21
            134. Therefore, said defendants are liable to said plaintiffs for the

22   wrongful death of Leonard Angelo Sanchez pursuant to Cal. Civ. Proc. Code §
23
     377.60 and otherwise pursuant to Cal. Civ. Proc. Code §§ 815.2, 815.2(a), 815.6,
24

25   820, 820.4 and 820.8.
26
            135. As a direct and proximate result of the actions of defendants
27

28
     SPILLER and BUESA plaintiffs suffered the loss of the relationship with their


                       SECOND AMENDED COMPLAINT FOR DAMAGES
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1    father, Leonard Sanchez, including his society, comfort, solace, guidance and
2
     support as well as burial / funeral costs/expenses, medical and psychological
3

4    costs/bills and expenses, loss of financial support; all in an amount to be proven at
5
     trial; in excess of $5,000,000.00 for each plaintiff.
6

7
           136. The actions of said defendants, and each of them, as complained of

8    herein, were committed maliciously, oppressively and in reckless disregard of
9
     plaintiff’s constitutional rights, sufficient for an award of punitive / exemplary
10

11   damages against said defendants, in an amount to be proven at trial, in excess of
12
     $3,000,000.00 for each plaintiff.
13

14
                            EIGHTH CAUSE OF ACTION
                           False Arrest / False Imprisonment
15                            Under California State Law
16                               [Direct Liability Action]
     (By Plaintiffs Margaret Alba, individually and as guardian ad litem for minor
17
                   children A.S., L.S., and S.S., against all defendants)
18
           137. Plaintiffs hereby reallege and incorporate by reference the allegations
19

20   set forth in paragraphs 1 through 136, inclusive, above, as if set forth in full
21
     herein.
22

23         138. As complained of above, plaintiff Margaret Alba and minor plaintiffs
24
     A.S., L.S., and S.S. were unlawfully seized and “arrested” by defendants
25
     SPILLER, BUESA, RAMIREZ and/or ESPINOZA and/or LEWIS and/or
26

27   CLEARY and/or ALVARADO and/or MOTLEY and/or WARRICK and/or
28
     WALKER and/or LAING and/or BARRIENTOS and/or GILMORE and/or KIRBY
                       SECOND AMENDED COMPLAINT FOR DAMAGES
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1    and/or BENITEZ and DOES 1 through 6, inclusive, on February 25, 2018 by first
2
     confining them to another quest room at the Sands Motel, and thereafter taking
3

4    them to the Barstow Police Department Detective’s Building against their will,
5
     and imprisoning them there, to be interrogated by the Barstow Police Department
6

7
     and the San Bernardino County to be interrogated to obtain information from

8    them, and to trick / coerce them into making custodial statements that could be
9
     used against them in any future civil litigation against the defendants for their
10

11   unlawful shooting of Leonard Angelo Sanchez.
12
           139. This false arrest / false imprisonment of the plaintiffs was done
13

14
     pursuant to the policies and longstanding customs and practices of the Barstow

15   Police Department and the San Bernardino County Sheriff’s Department to
16
     interrogate witnesses to officer-involved-shootings while they are in police
17

18   custody, to obtain information from them, and to trick / coerce them into making
19
     custodial statements that could be used against them in any future civil litigation
20

21
     against the defendants / shooting officers for their unlawful shooting of Leonard

22   Angelo Sanchez.
23
           140. The San Bernardino County Sheriff’s Department and the Barstow
24

25   Police Department has for many years now unlawfully seized witnesses to
26
     Officer-Involved-Shootings, and have unlawfully taken them into police custody,
27

28
     and routinely do not tell the witnesses, especially relatives of the persons shot by


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1    the police, that the person who was shot was already dead; full well knowing that
2
     if they told the witness who were unlawfully seized and interrogated that the
3

4    person shot / killed was dead, that the witnesses would not have told the Barstow
5
     Police Department and/or the San Bernardino County Sheriff’s Department what
6

7
     they saw and know about the shooting, and about the person shot or otherwise

8    unlawfully killed by the police.
9
           141. As complained of above, said defendants SPILLER, BUESA,
10

11   RAMIREZ and/or ESPINOZA and/or LEWIS and/or CLEARY and/or
12
     ALVARADO and/or MOTLEY and/or WARRICK and/or WALKER and/or
13

14
     LAING and/or BARRIENTOS and/or GILMORE and/or KIRBY and/or BENITEZ

15   and DOES 1 through 6, inclusive, had neither reasonable suspicion of criminality
16
     afoot about plaintiffs Margaret Alba, A.S., L.S. and S.S., nor probable cause to
17

18   believe that plaintiffs had committed a crime.
19
           142. Defendants SPILLER, BUESA, RAMIREZ and/or ESPINOZA and/or
20

21
     LEWIS and/or CLEARY and/or ALVARADO and/or MOTLEY and/or WARRICK

22   and/or WALKER and/or LAING and/or BARRIENTOS and/or GILMORE and/or
23
     KIRBY and/or BENITEZ and DOES 1 through 6, inclusive, and CITY and
24

25   COUNTY are liable to plaintiffs Margaret Alba, A.S., L.S. and S.S. for their false
26
     arrests / false imprisonments pursuant to Cal. Gov’t Code §§ 815.2(a), 815.6, 820,
27

28
     820.4 and 820.8.


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1          143. In addition, said defendants had no reason to believe that the
2
     plaintiffs could not be easily located if the Barstow Police Department and/or the
3

4    San Bernardino County Sheriff’s Department desired to contact them in the future
5
     to question.
6

7
           144. As a direct and proximate result of the actions of defendants

8    SPILLER, BUESA, RAMIREZ and/or ESPINOZA and/or LEWIS and/or
9
     CLEARY and/or ALVARADO and/or MOTLEY and/or WARRICK and/or
10

11   WALKER and/or LAING and/or BARRIENTOS and/or GILMORE and/or KIRBY
12
     and/or BENITEZ and DOES 1 through 6, inclusive, CITY and COUNTY, plaintiffs
13

14
     Margaret Alba, A.S., L.S. and S.S. were: 1) was substantially physically, mentally

15   and emotionally injured, and suffered great physical, mental and emotional injury,
16
     distress, pain and suffering; 2) incurred medical and psychological costs, bills and
17

18   expenses, 3) incurred attorney’s fees and associated litigation and other related
19
     costs, and 4) incurred the loss of business wages and profits, 5) incurred other
20

21
     special and general damages and expenses, in an amount to be proven at trial, in

22   excess of $5,000,000.00 for each plaintiff.
23
           145. The actions by said defendants were committed maliciously and
24

25   oppressively and constituted despicable conduct; sufficient for an award of
26
     punitive / exemplary damages against all defendants and each of them, save
27

28
     defendant CITY and COUNTY, in an amount to be proven at trial in excess of


                      SECOND AMENDED COMPLAINT FOR DAMAGES
                                       48
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1    $3,000,000.00 for each plaintiff.
2
                              NINTH CAUSE OF ACTION
3
           Negligent Infliction of Emotional Distress22; Dillon v. Legg Claim
4                              Under California State Law
                                 [Direct Liability Action]
5
     (By Plaintiffs Margaret Alba, individually and as guardian ad litem for minor
6     children A.S., L.S., and S.S., against all defendants and DOES 1 through 6,
7
                             inclusive, and defendant CITY)

8              146. Plaintiffs hereby reallege and incorporate by reference the allegations
9
     set forth in paragraphs 1 through 145, inclusive, above, as if set forth in full
10

11   herein.
12
               147. Defendants SPILLER, BUESA, RAMIREZ and/or ESPINOZA and/or
13

14
     LEWIS and/or CLEARY and/or ALVARADO and/or MOTLEY and/or WARRICK

15   and/or WALKER and/or LAING and/or BARRIENTOS and/or GILMORE and/or
16
     KIRBY and/or BENITEZ and DOES 1 through 6, inclusive, and each of them,
17

18   knew and/or should have known that plaintiffs Margaret Alba, A.S., L.S., and S.S.
19
     were susceptible to suffering severe emotional distress from the actions taken and
20

21
     committed against Leonard Sanchez and against said plaintiffs as complained of

22   above and herein, including the wrongful and unlawful shooting of Leonard
23
     Sanchez right in front of them and while causing said , the pointing of guns at the
24

25   plaintiffs in / at the motel room, the ordering of the plaintiffs to exit their motel
26

27

28
     22
          Dillon v. Legg claim.
                           SECOND AMENDED COMPLAINT FOR DAMAGES
                                            49
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1    room, and the “arrests” and interrogations of the plaintiffs; especially doing so
2
     while not telling them that Leonard Angelo Sanchez was already dead before they
3

4    were interrogated.
5
           148. Each of said plaintiffs were in close physical proximity to and
6

7
     witnesses to the shooting / killing of their father, Leonard Angelo Sanchez, and

8    were in close physical proximity to and were witnesses to said wrongful, tortious
9
     and outrageous actions by said defendants being perpetrated against their fellow
10

11   plaintiffs, above-described.
12
           149. Moreover, the conduct of said defendants, for all of the incidents
13

14
     complained of herein, were outrageous and not the type of conduct condoned in a

15   civilized society.
16
           150. Therefore, said defendants are liable to said plaintiffs for the severe
17

18   emotional distress inflicted upon them as well as the wrongful death of Leonard
19
     Angelo Sanchez, pursuant to Cal. Civ. Proc. Code § 377.60 and otherwise
20

21
     pursuant to Cal. Civ. Proc. Code §§ 815.2, 815.2(a), 815.6, 820, 820.4 and 820.8.

22         151. As a direct and proximate result of the actions of defendants
23
     SPILLER, BUESA, RAMIREZ and/or ESPINOZA and/or LEWIS and/or
24

25   CLEARY and/or ALVARADO and/or MOTLEY and/or WARRICK and/or
26
     WALKER and/or LAING and/or BARRIENTOS and/or GILMORE and/or KIRBY
27

28
     and/or BENITEZ and DOES 1 through 6, inclusive, plaintiffs were: 1) substantially


                          SECOND AMENDED COMPLAINT FOR DAMAGES
                                           50
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1    physically, mentally and emotionally injured, and suffered great physical, mental
2
     and emotional injury, distress, pain and suffering; 2) incurred medical and
3

4    psychological costs, bills and expenses; 3) incurred attorney’s fees and associated
5
     litigation and other related costs; and 4) incurred other special and general
6

7
     damages and expenses, in an amount to be proven at trial, in excess of

8    $5,000,000.00 for each plaintiff.
9
               152. The actions by said defendants were committed maliciously and
10

11   oppressively and constituted despicable conduct; sufficient for an award of
12
     punitive / exemplary damages against all defendants and each of them, save
13

14
     defendants CITY, in an amount to be proven at trial in excess of $10,000,000.00

15   for each plaintiff.
16
                              TENTH CAUSE OF ACTION
17
                                      NEGLIGENCE23
18                              Under California State Law
                                 [Direct Liability Action]
19
     (By Plaintiffs Margaret Alba, individually and as guardian ad litem for minor
20      plaintiffs A.S., L.S. and S.S. and Daisy Sanchez, against all defendants)
21
               153. Plaintiffs hereby reallege and incorporate by reference the allegations
22

23   set forth in paragraphs 1 through 152, inclusive, above, as if set forth in full
24
     herein.
25

26

27

28
     23
          Based on California state law.
                           SECOND AMENDED COMPLAINT FOR DAMAGES
                                            51
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1          154. Defendants SPILLER, BUESA, RAMIREZ and/or ESPINOZA
2
     and/or LEWIS and/or CLEARY and/or ALVARADO and/or MOTLEY and/or
3

4    WARRICK and/or WALKER and/or LAING and/or BARRIENTOS and/or
5
     GILMORE and/or KIRBY and/or BENITEZ and DOES 1 through 6, inclusive,
6

7
     owed plaintiffs Margaret Alba, A.S., L.S., S.S. and Daisy Sanchez, and decedent

8    Leonard Angelo Sanchez, a duty to use due care regarding the safety and well-
9
     being of their persons and their rights.
10

11         155. As set forth above, said defendants breached their duty of using due
12
     care toward plaintiffs Margaret Alba, minor plaintiffs A.S., L.S. and S.S., plaintiff
13

14
     Daisy Sanchez and plaintiffs’ decedent Leonard Angelo Sanchez by their actions

15   described above and below, to wit; shooting Leonard Angelo Sanchez when a
16
     reasonably well trained police officer would have known that sufficient
17

18   circumstances did not justify the shooting and while placing the plaintiffs in
19
     greater danger than if they did not shoot at all, also by failing to just use non-lethal
20

21
     force upon Leonard Angelo Sanchez (i.e. a taser), and by pointing their weapons

22   at the plaintiffs, ordering the plaintiffs out of their motel room, unlawfully seizing
23
     and searching the plaintiff motel room, unlawfully seizing and interrogating the
24

25   plaintiffs; all as described above.
26
           156. Therefore, said defendants are liable to said plaintiffs for the
27

28
     wrongful death of Leonard Angelo Sanchez pursuant to Cal. Civ. Proc. Code §


                       SECOND AMENDED COMPLAINT FOR DAMAGES
                                        52
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1    377.60 and otherwise pursuant to Cal. Civ. Proc. Code §§ 815.2, 815.2(a), 815.6,
2
     820, 820.4 and 820.8, and Cal. Civil Code § 1714.
3

4           157. As shown above, defendants SPILLER, BUESA, RAMIREZ and/or
5
     ESPINOZA and/or LEWIS and/or CLEARY and/or ALVARADO and/or
6

7
     MOTLEY and/or WARRICK and/or WALKER and/or LAING and/or

8    BARRIENTOS and/or GILMORE and/or KIRBY and/or BENITEZ and DOES 1
9
     through 6, inclusive, breached their duty of care to plaintiffs Margaret Alba, A.S.,
10

11   L.S., S.S., Daisy Sanchez and decedent Leonard Angelo Sanchez when they:
12
     1) wrongfully and unlawfully shot and killed Leonard Sanchez, 2) pointed their
13

14
     guns at the plaintiffs in / at the motel room, 3) ordered of the plaintiffs to exit their

15   motel room, 4) closed of the door to and the drapes inside of the plaintiffs’ motel
16
     room, 5) “arrested” and “interrogated” the plaintiffs, 6) unlawfully seized the
17

18   plaintiffs’ motel room, 7) unlawfully searched the plaintiffs’ motel room, and
19
     committed the other wrongful actions complained of herein.
20

21
           158. As a direct and proximate result of the actions of said defendants’

22   negligent actions, plaintiffs: 1) substantially physically, mentally and emotionally
23
     injured, and suffered great physical, mental and emotional injury, distress, pain
24

25   and suffering; 2) incurred medical and psychological costs, bills and expenses; 3)
26
     incurred funeral / burial expenses; and 4) incurred other special and general
27

28
     damages and expenses, in an amount to be proven at trial, in excess of


                       SECOND AMENDED COMPLAINT FOR DAMAGES
                                        53
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1    $10,000,000.00.
2
                             ELEVENTH CAUSE OF ACTION
3
                                TRESPASS TO RESIDENCE24
4                               Under California State Law
                                  [Direct Liability Action]
5
          (By Plaintiff Margaret Alba, as guardian ad litem for minor children A.S.,
6                           L.S. and S.S. against all defendants)
7
               159. Plaintiffs hereby reallege and incorporate by reference the allegations
8

9    set forth in paragraphs 1 through 158, inclusive, above, as though set forth in full
10
     herein.
11
               160. As alleged above, when defendants SPILLER and BUESA shot
12

13   plaintiff Leonard Angelo Sanchez, in the same room where plaintiffs Margaret
14
     Alba, A.S., L.S. and S.S. were and where they resided, defendants SPILLER,
15

16   BUESA, RAMIREZ and/or ESPINOZA and/or LEWIS and/or CLEARY and/or
17
     ALVARADO and/or MOTLEY and/or WARRICK and/or WALKER and/or
18
     LAING and/or BARRIENTOS and/or GILMORE and/or KIRBY and/or BENITEZ
19

20   and DOES 1 through 6, inclusive, seized plaintiffs Margaret Alba, A.S., L.S. and
21
     S.S., and their older sister Daisy Sanchez, and held them confined in other rooms at
22

23   said motel, and thereafter took them against their wills to the Barstow Police
24
     Department’s Detective’s Offices in Barstow, California.
25

26

27

28
     24
          Based on California state law.
                           SECOND AMENDED COMPLAINT FOR DAMAGES
                                            54
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1           161. In addition, as alleged above, after shooting Leonard Angelo
2
     Sanchez, defendants SPILLER and BUESA pointed their guns at plaintiffs
3

4    Margaret Alba, A.S., L.S. and S.S. and yelled at them to get out of their motel room;
5
     essentially threatening them with being shot for their refusal / failure to exit their
6

7
     motel room.

8           162. In addition, as alleged above, said plaintiffs exited their motel room
9
     pursuant to defendants’ demands to do so; above-referenced.
10

11          163. In addition, as alleged above, thereafter, defendants SPILLER,
12
     BUESA, RAMIREZ and/or ESPINOZA and/or LEWIS and/or CLEARY and/or
13

14
     ALVARADO and/or MOTLEY and/or WARRICK and/or WALKER and/or

15   LAING and/or BARRIENTOS and/or GILMORE and/or KIRBY and/or BENITEZ
16
     and DOES 1 through 6, inclusive, closed the door of the plaintiffs’ motel room;
17

18   preventing the plaintiffs or anyone else from seeing what was going on inside of the
19
     motel room.
20

21
            164. In addition, as alleged above, defendants SPILLER, BUESA,

22   RAMIREZ and/or ESPINOZA and/or LEWIS and/or CLEARY and/or
23
     ALVARADO and/or MOTLEY and/or WARRICK and/or WALKER and/or
24

25   LAING and/or BARRIENTOS and/or GILMORE and/or KIRBY and/or BENITEZ
26
     and DOES 1 through 6, inclusive, used yellow police tape to cordon-off the area
27

28
     around and their motel room at the Sands Motel, to keep them and others away from


                       SECOND AMENDED COMPLAINT FOR DAMAGES
                                        55
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1    and out of the plaintiff’s motel room.
2
           165. Moreover, as alleged above, defendants SPILLER, BUESA,
3

4    RAMIREZ and/or ESPINOZA and/or LEWIS and/or CLEARY and/or
5
     ALVARADO and/or MOTLEY and/or WARRICK and/or WALKER and/or
6

7
     LAING and/or BARRIENTOS and/or GILMORE and/or KIRBY and/or BENITEZ

8    and DOES 1 through 6, inclusive, ejected the plaintiffs out of their motel room.
9
           166. Moreover, as alleged above, defendants SPILLER, BUESA,
10

11   RAMIREZ and/or ESPINOZA and/or LEWIS and/or CLEARY and/or
12
     ALVARADO and/or MOTLEY and/or WARRICK and/or WALKER and/or
13

14
     LAING and/or BARRIENTOS and/or GILMORE and/or KIRBY and/or BENITEZ

15   and DOES 1 through 6, inclusive, DOES 1 through 6, inclusive, kept the plaintiffs
16
     from access to their personal property that was inside of the motel room when the
17

18   plaintiffs were forced out of the same.
19
           167. In addition to the above and foregoing, following defendants
20

21
     SPILLER, BUESA, RAMIREZ and/or ESPINOZA and/or LEWIS and/or

22   CLEARY and/or ALVARADO and/or MOTLEY and/or WARRICK and/or
23
     WALKER and/or LAING and/or BARRIENTOS and/or GILMORE and/or KIRBY
24

25   and/or BENITEZ and DOES 1 through 6, inclusive, forced the plaintiffs out of their
26
     motel room.
27

28
           168. In addition to the above and foregoing, following defendants SPILLER


                      SECOND AMENDED COMPLAINT FOR DAMAGES
                                       56
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1    and BUESA, and thereafter defendants RAMIREZ and/or ESPINOZA and/or
2
     LEWIS and/or CLEARY and/or ALVARADO and/or MOTLEY and/or
3

4    WARRICK and/or WALKER and/or LAING and/or BARRIENTOS and/or
5
     GILMORE and/or KIRBY and/or BENITEZ and DOES 1 through 6, inclusive,
6

7
     forcing the plaintiffs out of their motel room, defendants SPILLER, BUESA and/or

8    RAMIREZ and/or ESPINOZA and/or LEWIS and/or CLEARY and/or
9
     ALVARADO and/or MOTLEY and/or WARRICK and/or WALKER and/or
10

11   LAING and/or BARRIENTOS and/or GILMORE and/or KIRBY and/or
12
     BENITEZ and DOES 1 through 6, inclusive, unlawfully obtained a search warrant
13

14
     for the search of said motel room; not to investigate criminal behavior, but to

15   perform a civil liability investigation for the City of Barstow by the County of San
16
     Bernardino; an abuse of the search warrant provisions of California and federal
17

18   statutory and constitutional law.
19
           169. The affidavit for the search warrant (i.e. Statement of Probable Cause)
20

21
     was devoid of any facts that indicated that the defendants were even doing any sort

22   of criminal investigation, and only showed that pursuant to the policies, customs and
23
     practices of the Barstow Police Department and the San Bernardino County
24

25   Sheriff’s Department, the defendants were abusing the search warrant process to
26
     unlawfully conduct a Civil Liability Investigation for the Barstow Police
27

28
     Department and for SPILLER and BUESA; to protect them from civil liability for


                      SECOND AMENDED COMPLAINT FOR DAMAGES
                                       57
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1    the shooting of Leonard Angelo Sanchez described above.
2
           170. Moreover, even if said defendants were doing a criminal investigation
3

4    regarding the shooting of Leonard Angelo Sanchez, the Statement of Probable
5
     Cause for the search warrant contained no facts that showed either that any crime
6

7
     had been committed, especially any felony, or, that the search of the plaintiff’s motel

8    room was likely to contain evidence of any crime.
9
           171. No reasonable police officer could have believed that said search
10

11   warrant application was sufficient to pass muster under Fourth Amendment scrutiny.
12
     Nonetheless the judge issued the search warrant.
13

14
           172. In any case, said defendants search of the plaintiffs’ motel room at the

15   Sands Motel, constituted a trespass to plaintiffs’ residence under California state
16
     law. Therefore, said defendants are liable to said plaintiffs for said a trespass to
17

18   plaintiffs’ residence pursuant to Cal. Civ. Proc. Code §§ 815.2, 815.2(a), 815.6,
19
     820, 820.4 and 820.8.
20

21
           173. As a direct and proximate result of the actions of defendants

22   SPILLER, BUESA, RAMIREZ and/or ESPINOZA and/or LEWIS and/or
23
     CLEARY and/or ALVARADO and/or MOTLEY and/or WARRICK and/or
24

25   WALKER and/or LAING and/or BARRIENTOS and/or GILMORE and/or KIRBY
26
     and/or BENITEZ and DOES 1 through 6, inclusive, unlawfully / unreasonably
27

28
     entering and searching plaintiffs’ motel room, plaintiffs were: 1) were


                       SECOND AMENDED COMPLAINT FOR DAMAGES
                                        58
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1    substantially physically injured, mentally and emotionally injured, and suffered
2
     great physical, mental and emotional injury, distress, pain and suffering; 2)
3

4    incurred medical and psychological costs, bills and expenses, 3) incurred
5
     attorney’s fees and associated litigation and other related costs, and 4) incurred the
6

7
     loss of business wages and profits, 5) incurred other special and general damages

8    and expenses, in an amount to be proven at trial, in excess of $3,000,000.00 each.
9
               174. The actions of said defendants, and each of them, as complained of
10

11   herein, were committed maliciously, oppressively and in reckless disregard of
12
     plaintiff’s constitutional rights, sufficient for an award of punitive / exemplary
13

14
     damages against said defendants, in an amount to be proven at trial, in excess of

15   $3,000,000.00 for each plaintiff.
16

17                         TWELTH CAUSE OF ACTION
                    MONELL25 AND SUPERVISORY LIABILITY
18
                                   [42 U.S.C. § 1983]
19   (By Plaintiff Margaret Alba, as guardian ad litem for minor children A.S., L.S.
        S.S. and Daisy Sanchez, individually as successors in interest to Leonard
20
      Sanchez, against defendants RAMIREZ, McMAHON, CITY and COUNTY
21                        and DOES 7 through 10, inclusive)
22
               175. Plaintiffs hereby reallege and incorporate by reference the allegations
23

24   set forth in paragraphs 1 through 174, inclusive, above, as though set forth in full
25
     herein.
26

27

28
     25
          Monell v. Dept. of Social Services, 436 U.S. 658 (1978).
                           SECOND AMENDED COMPLAINT FOR DAMAGES
                                            59
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1           176. Defendants RAMIREZ and DOES 7 and 8, inclusive were final
2
     policy making officials with defendant City of Barstow.
3

4           177. Defendants McMAHON and DOES 9 and 10, inclusive were final
5
     policy making officials with defendant County of San Bernardino.
6

7
            178. Defendants RAMIREZ, McMAHON and DOES 7 through 10,

8    inclusive, and were in some substantial way liable and responsible for, or
9
     otherwise proximately caused and/or contributed to the events complained of by
10

11   plaintiffs in this case, such as via the creation and maintenance of the
12
     unconstitutional policies, customs and practices complained of above regarding
13

14
     the handling of Officer-Involved-Shootings and the Investigations of the same26,

15   and via supervisory liability (i.e. failure to properly supervise, improperly
16
     directing subordinate officers and/or approving unconstitutional actions of
17

18   subordinate officers), via bystander liability (failing to intervene in and stop
19

20

21
     26
        The San Bernardino County Sheriff’s Department and the Barstow Police Department has for
22   many years now unlawfully seized witnesses to Officer-Involved-Shootings, and have
     unlawfully taken them into police custody to interrogate them for Civil Liability purposes and
23
     not to investigate criminal conduct, and has routinely not told the seized witnesses, especially
24   relatives of the persons shot / killed by the police that the person shot / killed was already dead;
     full well knowing that if they told the witness who were unlawfully seized and interrogated that
25   the person shot / killed by the police was dead, that the witnesses would not have told the
     Barstow Police Department and the San Bernardino County Sheriff’s Department what they saw
26
     and know about the shooting and the person shot or otherwise unlawfully killed by the police.
27   Those policies, customs and practices of the Barstow Police Department and the San Bernardino
     County Sheriff’s Department also involve unlawfully seizing the place where the police killed
28   another, and unlawfully obtaining search warrants to do Civil Liability Investigations to protect
     the police / deputies and their employing entities from civil liability.
                         SECOND AMENDED COMPLAINT FOR DAMAGES
                                          60
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1    unlawful actions of their subordinates and/or other officers), and such as by
2
     creating and/or causing the creation of and/or contributing to the creation of the
3

4    policies and/or longstanding practices and/or longstanding customs and/or
5
     longstanding usages of defendant City of Barstow for: 1) wrongfully and
6

7
     unconstitutionally killing persons; 2) using excessive / unreasonable force on

8    persons; 3) unlawfully searching and seizing persons; 4) unlawful searching and
9
     seizing persons’ homes and effects / personal property; 5) falsely arresting and
10

11   falsely imprisoning persons; 6) fabricating / destroying / concealing / altering /
12
     withholding evidence in criminal and civil actions; 7) “framing” / attempting to
13

14
     “frame” innocent persons in criminal actions27, 8) violating and interfering with

15   persons’ constitutionally protected right to free speech and right to petition the
16
     government for redress of grievances; 9) violating, interfering and depriving
17

18   persons of their of constitutionally protected parent-child relationships; 10)
19
     covering-up unlawful and tortious conduct by the City of Barstow police officers
20

21
     and other City personnel and 11) falsely, corruptly, wrongfully and

22   unconstitutionally obtaining search warrants for private residences to perform
23
     civil liability investigations to protect themselves, the City of Barstow and City of
24

25

26

27
     27
28      To protect themselves and other police officers and deputy sheriffs and supervisory personnel
     from civil, administrative and criminal liability.
                        SECOND AMENDED COMPLAINT FOR DAMAGES
                                         61
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1    Barstow police officers from civil, criminal and administrative liability, and were
2
     a proximate cause of the very same California state law, and federal and state
3

4    constitutional violations complained of by the plaintiffs in this action.
5
           179. Defendants RAMIREZ, McMAHON, CITY and COUNTY and
6

7
     DOES 7 through 10, inclusive, were in some substantial way liable and

8    responsible for, or otherwise proximately caused and/or contributed to the events
9
     complained of by plaintiffs in this case, such as via supervisory liability (i.e.
10

11   failure to properly supervise, improperly directing subordinate officers and/or
12
     approving unconstitutional actions of subordinate officers), via bystander liability
13

14
     (failing to intervene in and stop unlawful actions of their subordinates and/or other

15   officers), and such as by creating and/or causing the creation of and/or
16
     contributing to the creation of the policies and/or practices and/or customs and/or
17

18   usages of the County of San Bernardino for: 1) wrongfully and unconstitutionally
19
     killing persons; 2) using excessive / unreasonable force on persons; 3) unlawfully
20

21
     searching and seizing persons; 4) unlawful searching and seizing persons’ homes

22   and effects / personal property; 5) falsely arresting and falsely imprisoning
23
     persons; 6) fabricating / destroying / concealing / altering / withholding evidence
24

25   in criminal and civil actions; 7) “framing” / attempting to “frame” innocent
26

27

28


                       SECOND AMENDED COMPLAINT FOR DAMAGES
                                        62
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1    persons in criminal actions28, 8) violating and interfering with persons’
2
     constitutionally protected right to free speech and right to petition the government
3

4    for redress of grievances; 9) violating, interfering and depriving persons of their of
5
     constitutionally protected parent child relationships; 10) covering-up unlawful and
6

7
     tortious conduct by the County of San Bernardino deputy sheriffs and supervisors

8    and other County of San Bernardino personnel and 11) falsely, corruptly,
9
     wrongfully and unconstitutionally obtaining search warrants for private residences
10

11   to perform civil liability investigations to protect themselves, the City of Barstow
12
     and City of Barstow police officers from civil, criminal and administrative
13

14
     liability, and were a proximate cause of the very same California state law, and

15   federal and state constitutional violations complained of by the plaintiffs in this
16
     action.
17

18          180. Also, over at least the past three decades the Barstow Police
19
     Department and the San Bernardino County Sheriff’s Department have failed to
20

21
     discipline its deputy sheriffs and police officers for the use of unreasonable force

22   upon innocents and other civilians, and both entities have an unwritten policy to
23
     use unreasonable force upon persons who pose no threat to its deputies and
24

25

26

27
     28
28      To protect themselves and other police officers and deputy sheriffs and supervisory personnel
     from civil, administrative and criminal liability.
                        SECOND AMENDED COMPLAINT FOR DAMAGES
                                         63
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1    officers.
2
           181. Over the past ten years the San Bernardino County Sheriff’s
3

4    Department has used unreasonable force on an average of two thousand persons
5
     per year and the Barstow Police Department has used excessive force on hundreds
6

7
     of persons.

8          182. Over than same period of time, within the past six years, the use of
9
     unreasonable force by San Bernardino County Sheriff’s Department and the
10

11   Barstow Police Department has increased and the severity and level of the use of
12
     force has been promoted by the San Bernardino County District Attorney’s Office
13

14
     Crimes Against Peace Officers (“CAPO”) Prosecution Unit by said unit

15   deliberately persecuting and prosecuting the innocent victims of the use of
16
     unreasonable force by San Bernardino County Sheriff’s Department deputy
17

18   sheriffs and Barstow Police Department police officers, and by the San
19
     Bernardino County Sheriff’s Department and the Barstow Police Department
20

21
     justifying the use of unreasonable force, including the use of unreasonable deadly

22   force upon civilians.
23
           183. Said policies and practices of the San Bernardino County District
24

25   Attorney’s Office CAPO Prosecution Unit and the San Bernardino County
26
     Sheriff’s Department’s failure to discipline literally thousands of deputy sheriffs
27

28
     and police officers for the obvious use of unreasonable force for “contempt of


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1    cop” cases and otherwise. Said policies also resulted in the unlawful use of force
2
     upon Leonard Angelo Sanchez during the incident complained of in this action.
3

4          184. As a direct and proximate result of the actions of defendants
5
     RAMIREZ, McMAHON, CITY and COUNTY and DOES 7 through 10,
6

7
     inclusive, plaintiffs were: 1) were substantially physically injured, mentally and

8    emotionally injured, and suffered great physical, mental and emotional injury,
9
     distress, pain and suffering; 2) incurred medical and psychological costs, bills and
10

11   expenses, 3) incurred funeral and burial costs and expenses, and 4) incurred the
12
     loss of business wages and profits, 5) incurred other special and general damages
13

14
     and expenses, in an amount to be proven at trial, in excess of $10,000,000.00.

15         185. The actions of said defendants, and each of them, as complained of
16
     herein, were committed maliciously, oppressively and in reckless disregard of
17

18   plaintiff’s constitutional rights, sufficient for an award of punitive / exemplary
19
     damages against said defendants, save CITY and COUNTY, in an amount to be
20

21
     proven at trial, in excess of $3,000,000.00 for each plaintiff.

22                         THIRTEENTH CAUSE OF ACTION
23           INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
                                  Under California State Law
24
                                    [Direct Liability Action]
25      (By Plaintiffs Margaret Alba, individually and as guardian ad litem for
     plaintiffs A.S., L.S., S.S., individually and as successors in interest to Decedent
26
                    Leonard Angelo Sanchez, against all Defendants)
27

28
           186. Plaintiffs hereby reallege and incorporate by reference the allegations


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1    set forth in paragraphs 1 through 203, inclusive, above, as if set forth in full
2
     herein.
3

4          187. As set forth above, defendants SPILLER, BUESA, RAMIREZ and/or
5
     ESPINOZA and/or LEWIS and/or CLEARY and/or ALVARADO and/or
6

7
     MOTLEY and/or WARRICK and/or WALKER and/or LAING and/or

8    BARRIENTOS and/or GILMORE and/or KIRBY and/or BENITEZ and DOES 1
9
     through 6, inclusive: 1) wrongfully and unlawfully shot and killed Leonard
10

11   Sanchez, 2) pointed their guns at the plaintiffs in / at the motel room, 3) ordered
12
     the plaintiffs to exit their motel room, 4) “arrested” and “interrogated” the
13

14
     plaintiffs, 5) unlawfully seized the plaintiffs’ motel room, 6) unlawfully searched

15   the plaintiffs’ motel room, 7) falsely arrested / falsely imprisoned the plaintiffs
16
     and took them, against their wills, to the Barstow Police Department to be
17

18   interrogated by the San Bernardino County Sheriff’s Department and the Barstow
19
     Police Department when their relatives were already dead, without telling them
20

21
     that they were dead, to protect their officers and deputies from civil and criminal

22   liability, and committed the other wrongful actions complained of herein.
23
           188. When said defendants committed these actions they knew or
24

25   reasonably should have known that said actions would cause the plaintiffs to
26
     suffer extreme emotional distress, and, in fact, plaintiffs did suffer severe
27

28
     emotional distress.


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1          189. The actions complained of herein by plaintiffs were outrageous and
2
     were not the type of actions tolerated in a civilized society.
3

4          190. As a direct and proximate result of the actions of said defendants’
5
     negligent actions, plaintiffs: 1) substantially physically, mentally and emotionally
6

7
     injured, and suffered great physical, mental and emotional injury, distress, pain

8    and suffering; 2) incurred medical and psychological costs, bills and expenses; 3)
9
     incurred funeral / burial expenses; and 4) incurred other special and general
10

11   damages and expenses, in an amount to be proven at trial, in excess of
12
     $10,000,000.00.
13

14
           191. The actions of said defendants, and each of them, as complained of

15   herein, were committed maliciously, oppressively and in reckless disregard of
16
     plaintiff’s constitutional rights, sufficient for an award of punitive / exemplary
17

18   damages against said defendants, save CITY and COUNTY, in an amount to be
19
     proven at trial, in excess of $3,000,000.00 for each plaintiff.
20

21
           WHEREFORE, plaintiffs pray for judgment as follows:

22         a)     For a judgment against all defendants for compensatory damages in
23
     an amount in excess of $10,000,000.00 for each plaintiff;
24

25         b)     For a judgment against all defendants, save CITY and COUNTY, for
26
     punitive damages in an amount in excess of $10,000,000.00 for each plaintiff;
27

28
           c)     For an award of reasonable attorney’s fees and costs;


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1          d)    For a trial by jury; and
2
           e)    For such other and further relief as this honorable court deems just
3

4    and equitable.
5
     Dated July 24, 2019                    __/s/_ Jerry L. Steering ________________
6                                            JERRY L. STEERING, Attorney for
7
                                             Plaintiffs Margaret Alba, individually and
                                             as guardian ad litem for minor children A.S.,
8                                            L.S., and S.S., successors in interest to
9                                            decedent Leonard Angelo Sanchez
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